Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 1 of 86 Page ID
                                 #:25919




                 Exhibit 1
     Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 2 of 86 Page ID
                                      #:25920

 1
                                    UNITED STATES DISTRICT COURT
 2                                 CENTRAL DISTRICT OF CALIFORNIA
 3                                                   Master File No: 2:15-cv-05146-CAS-PJWx
          In re Silver Wheaton Corp. Securities      c/w: 2:15-cv-05173-CAS(PJWx)
 4
          Litigation
 5

 6
                      DECLARATION OF PAUL MULHOLLAND
 7    CONCERNING: (A) MAILING OF THE POSTCARD NOTICE; (B) PUBLICATION OF
       THE SUMMARY NOTICE; AND (C) REPORT ON REQUESTS FOR EXCLUSION
 8                             AND OBJECTIONS
 9
      I, Paul Mulholland, declare as follows:
10
                1.     I am the President of Strategic Claims Services (“SCS”), a nationally recognized
11
      class action administration firm. I have over twenty-eight years of experience specializing in the
12

13    administration of class action cases. SCS was established in April 1999 and has administered

14    over four hundred twenty-five (425) class action cases since its inception. I am over 21 years of

15    age and am not a party to this action. I have personal knowledge of the facts set forth herein.
16
                                    MAILING OF POSTCARD NOTICE
17
                2.     Pursuant to the Court’s Order Preliminarily Approving Settlement and Providing
18
      for Notice Procedures, dated March 9, 2020 (the “Preliminary Approval Order”), SCS was
19
      retained as Claims Administrator in connection with the Settlement1 in the above-captioned
20

21    action.

22              3.     To provide actual notice to all persons and entities who purchased the publicly
23    traded securities of Silver Wheaton Corp., n/k/a Wheaton Precious Metals Corp. (“Silver
24
      Wheaton”) (i) on a United States exchange or (ii) in a transaction in the United States, during the
25
      period from March 30, 2011 to July 6, 2015, inclusive, and did not sell such securities prior to
26

27    1
       All capitalized terms not otherwise defined herein have the meanings set forth in the Stipulation
28    of Settlement, filed on February 10, 2020 (the “Stipulation”).
     Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 3 of 86 Page ID
                                      #:25921

 1
      July 6, 2015 (the “Class Period”), pursuant to the Preliminary Approval Order, SCS printed and
 2
      mailed the Postcard Notice to potential members of the Settlement Class. A true and correct
 3
      copy of the Postcard Notice is attached as Exhibit A.
 4

 5           4.      First, SCS mailed, by first class mail, postage prepaid, the Postcard Notice to 755

 6    individuals and organizations identified in the transfer records which were provided to SCS by
 7    Plaintiffs’ Counsel. These records reflect individuals and entities that held Silver Wheaton stock
 8
      for their own account, or for the account(s) of their clients during the Class Period. The transfer
 9
      record mailing was completed on March 19, 2020.
10
             5.      As in most class actions of this nature, the large majority of potential Settlement
11

12    Class Members are expected to be beneficial purchasers whose securities are held in “street

13    name” — i.e., the securities are purchased by brokerage firms, banks, institutions and other third-

14    party nominees in the name of the nominee, on behalf of the beneficial purchasers. The names
15    and addresses of these beneficial purchasers are known only to the nominees. SCS maintains a
16
      proprietary master list consisting of 714 banks and brokerage companies (“Nominee Account
17
      Holders”), as well as 597 mutual funds, insurance companies, pension funds, and money
18
      managers (“Institutional Groups”). On March 16, 2020, SCS caused a letter to be mailed or e-
19

20    mailed to the 1,311 nominees contained in the SCS master mailing list. The letter notified them

21    of the Settlement and requested that they, within 10 calendar days from the date of the letter,

22    either send a Postcard Notice to their customers who may be beneficial purchasers/owners or
23
      provide SCS with a list of the names, mailing addresses, and email addresses of such beneficial
24
      owners so that SCS could promptly send the Postcard Notice directly to them. A copy of the
25
      letter sent to these nominees is attached as Exhibit B.
26

27

28


                                                       2
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                                      #:25922

 1
             6.      Following this mailing, SCS received additional names and addresses of potential
 2
      Settlement Class Members from individuals or nominees requesting that a Postcard Notice be
 3
      mailed by SCS, and SCS received requests from nominees for Postcard Notices so that the
 4

 5    nominees could forward them to their customers.

 6           7.      To date, SCS has mailed 390,496 Postcard Notices.2 Additionally, SCS was
 7    notified by one of the nominees that they emailed 92,282 of their customers to notify them of this
 8
      settlement and provide direct links to the Notice and Claim Form on the settlement website.
 9
             8.      SCS also sent the Depository Trust Company (“DTC”) a Notice Packet for the
10
      DTC to publish on its Legal Notice System (“LENS”) on March 16, 2020. LENS provides DTC
11

12    participants the ability to search and download legal notices as well as receive e-mail alerts based

13    on particular notices or particular CUSIPs once a legal notice is posted.

14           9.      Out of the 390,496 Postcard Notices mailed, 19,709 were returned as
15    undeliverable. Of these, the United States Postal Service provided forwarding addresses for
16
      1,143, and SCS immediately mailed another Postcard Notice to the updated addresses. The
17
      remaining 18,566 Postcard Notices returned as undeliverable were “skip-traced” to obtain
18
      updated addresses and 9,155 were re-mailed to updated addresses.
19

20                           PUBLICATION OF THE SUMMARY NOTICE

21           10.     Pursuant to the Court’s Preliminary Approval Order, the Summary Notice of

22    Pendency and Proposed Settlement of Class Action (“Summary Notice”) was published once in
23

24

25
      2
        Out of the 390,496 Postcard Notices mailed, we received 1,219 requests from the potential
26    Settlement Class Members to mail them the Internet Notice of Pendency and Proposed
      Settlement of Class Action (“Notice”) and Proof of Claim and Release Form (“Claim Form”)
27
      (collectively, the “Notice Packet”) and we received 148 email addresses for potential Settlement
28    Class Members to email the Postcard Notice.


                                                       3
     Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 5 of 86 Page ID
                                      #:25923

 1
      Investor’s Business Daily and to be transmitted once over the PR Newswire on April 6, 2020, as
 2
      shown in the confirmations of publication attached hereto as Exhibit C.
 3
                                          TOLL-FREE PHONE LINE
 4

 5           11.     On or about March 19, 2020, a case-specific toll-free number, 866-410-3013, was

 6    established with an Interactive Voice Response system and operators during business hours. The
 7    automated attendant answers the calls and presents callers with a series of common questions and
 8
      answers. If callers need further assistance, they have the option to be transferred to an operator
 9
      during business hours.
10
                                                   WEBSITE
11

12           12.     On    or    before    March     13,   2020,    SCS     established    the   website,

13    silverwheatonsettlement.com. The website includes a home page with a summary of the case; an

14    Important Documents page that the Claim Form, the Notice, and the Stipulation can be
15    downloaded; a File a Claim Online page; a Frequently Asked Questions page; a Nominees page;
16
      and a Contact Us page. A copy of the Notice Packet is attached as Exhibit D.
17
                            REPORT ON EXCLUSIONS AND OBJECTIONS
18
             13.     The Postcard Notice, Notice, and Summary Notice informed potential Settlement
19

20    Class Members that written requests for exclusion are to be mailed to SCS such that they are

21    received no later than June 13, 2020. SCS has been monitoring all mail delivered for this case.

22    As of the date of this Declaration, SCS has received six purported exclusion requests. Three of
23
      the purported opt-outs are not Settlement Class Members because they sold all their shares
24
      before July 6, 2015. The other three opt-outs did not provide information and documentation the
25
      court required after SCS notified them of the requirement. Copies of the requests for exclusion
26
      and any correspondence are attached as Exhibit E.
27

28


                                                       4
     Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 6 of 86 Page ID
                                      #:25924

 1
                14.    According to the Notice, Settlement Class Members seeking to object to the
 2
      Settlement, any part of the Settlement, the Plan of Allocation, or Plaintiffs’ Counsel’s motion for
 3
      attorneys’ fees must be submitted to Plaintiffs’ Counsel, Silver Wheaton Defendants’ Counsel,
 4

 5    and Deloitte’s Counsel, as well as filed with the Clerk of the Court, no later than July 20, 2020.

 6    As of the date of this Declaration, SCS has received one objection and has been notified by
 7    Plaintiffs’ Counsel that it received a second objection. Both objections are to the Plan of
 8
      Allocation only. Exhibit F are copies of the objections.
 9
                15.    To date, SCS has received 35,966 claim forms. The claims filing deadline was
10
      for claims to be either filed electronically or postmarked no later than June 13, 2020. Below is a
11

12    preliminary estimate of the total recognized claims to date. Based on my experience, I am

13    estimating approximately 50% or $34,495,984 ($68,991,968 times 50%) of the Deficient Claims

14    will be cured. The numbers below do not include any adjustments as a result of SCS’s quality
15    assurance process, which includes the results of the cure/rejection process:
16
                                                                                     Dollar Amount of the
17        Type of Claims                           Number of Claims                   Recognized Claims

18        Valid 3                                          10,385                           $157,930,358

19        Deficient Claims with limited proof               1,132                            $68,991,968
20        or unable to determine if transactions
          were made on U.S. or Canadian market
21

22        Rejected due to No Recognized Claims             24,449                               N/A
                           Total                           35,966                           $226,922,326
23
      3
24      This represents the maximum value for these 10,385 valid claims. Most of these claims were
      filed by third party e-filers. E-filers’ claims are presumed to be valid based on the transactional
25    data submitted in their respective claims, but the filers have not yet provided actual
      documentation for the transactions. As part of its quality assurance, SCS will request that these
26    e-filers provide additional proof to further substantiate their claims. Some of these claims will
27    likely eventually be rejected as the filers do not provide the proof or SCS determines the
      additional proof they provide is insufficient.
28


                                                       5
     Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 7 of 86 Page ID
                                      #:25925

 1

 2
             16.    Of the 35,966 claims filed to date, only 2,427 (7%) were filed as paper claims.
 3
      On average, about 22% of claims are made on paper, which would translate to about 7,913
 4

 5    claims in this case. A paper claim costs about $7.50 more to process than an on-line claim. Thus,

 6    I estimate that encouraging claimants to file online reduced total expenses by about $41,000 to
 7    date. The total reduction in the recognized losses for paper claim filers by applying the greater
 8
      of $5 or 1% reduction is approximately $23,000.
 9
             I declare under penalty of perjury that the foregoing is true and correct.
10
             Signed this 6th day of July 2020, in Media, Pennsylvania.
11

12

13                                                      ________________________
                                                        Paul Mulholland
14

15

16

17

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                                                       6
                                               Silver Wheaton Corp. Litigation
Court-Ordered Legal Notice                     c/o Strategic Claims Services
Forwarding Service Requested                   600 N. Jackson Street, Suite 205
                                               Media, PA 19063
Important Notice about a Securities Class
Action Settlement

You may be entitled to a payment. This
Notice may affect your legal rights. Please
read it carefully.

Case Pending in the United States District
Court for the Central District of California

Master File No: 2:15-cv-05146-CAS-PJWx
c/w: 2:15-cv-05173-CAS (PJWx)
                                                                                  EXHIBIT A
                                                                                                                               #:25926




                                               Silver Wheaton Corp. Litigation
                                               c/o Strategic Claims Services
                                               600 N. Jackson Street, Suite 205
Court-Ordered Legal Notice                     Media, PA 19063
Forwarding Service Requested

Important Notice about a Securities Class
Action Settlement

You may be entitled to a payment. This         Mail ID: «Next Record»«MailID»
Notice may affect your legal rights. Please    «NAME_1»
read it carefully.                             «NAME_2»
                                               «NAME_3»
Case Pending in the United States District     «NAME_4»
Court for the Central District of California   «ADDR_1»
                                               «ADDR_2»
Master File No: 2:15-cv-05146-CAS-PJWx         «ADDR_3»
                                                                                              Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 8 of 86 Page ID




c/w: 2:15-cv-05173-CAS (PJWx)                  «ADDR_4»
                                               «CITY» «STATE» «ZIP»
                                               «COUNTRY»
                     THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                   PLEASE VISIT WWW.SILVERWHEATONSETTLEMENT.COM FOR MORE INFORMATION.
The United States District Court for the Central District of California has preliminarily approved a proposed Settlement of claims against
Silver Wheaton Corp. (“Silver Wheaton”), Randy V.J. Smallwood, Peter Barnes, Gary Brown, and Deloitte LLP (Canada) (collectively, the
“Defendants”). The Settlement resolves all of the claims in the Class Action against Defendants in which Plaintiffs allege that Defendants
made false and misleading statements to the investing public as set out in the Complaint, including that Silver Wheaton’s 2010-2014
financial statements allegedly were misleading for failing to record a tax liability or to disclose a contingent liability for alleged future tax
liabilities relating to income earned by the Company’s foreign subsidiaries outside of Canada. Defendants expressly deny all allegations of
wrongdoing or liability whatsoever and deny that any Settlement Class Members were damaged. You received this Postcard Notice
because you or someone in your family may have purchased or otherwise acquired Silver Wheaton securities between March 30, 2011 and
July 6, 2015 inclusive.
You received this notice because you may have purchased Silver Wheaton securities on a United States exchange or in a transaction in the
United States between March 30, 2011 and July 6, 2015, both dates inclusive, and you may be a Settlement Class Member. The Settlement
provides that, in exchange for the dismissal and release of claims against Defendants, a fund consisting of $41,500,000, less attorneys’ fees
and expenses, will be divided among Settlement Class Members who timely submit a valid Proof of Claim and Release Form (“Proof of
Claim” or “Claim Form). For a full description of the Settlement and your rights and to make a claim, please view the Stipulation of
Settlement and obtain a copy of the Internet Notice of Pendency and Proposed Settlement of Class Action (“Notice”) and Proof of Claim
by visiting the website: www.silverwheatonsettlement.com. You may also request copies of the Notice and Proof of Claim from the
Claims Administrator through any of the following ways: (1) mail: Silver Wheaton Corp. Litigation, c/o Strategic Claims Services, P.O.
Box 230, 600 N. Jackson St, Ste. 205, Media, PA 19063; (2) call toll free: (866) 410-3013; (3) fax: (610) 565-7985; or (4) email:
info@strategicclaims.net.
To qualify for payment, you must submit a Proof of Claim.                         The Claim Form can be found on the website,
www.silverwheatonsettlement.com, or will be mailed to you upon request to the Claims Administrator (866-410-3013). Claim Forms
must be electronically submitted by June 13, 2020. If you choose to mail your claim form, at your own expense, your payout will be
reduced to reflect the increased administrative cost of processing mailed claims. Mailed claims must be postmarked by June 13,
2020. If you do not want to be legally bound by the Settlement, you must exclude yourself by June 13, 2020, or you will not be able to sue
the Defendants about the legal claims in this case. If you exclude yourself, you cannot get money from this Settlement. If you stay in the
Settlement, you may object to it by July 20, 2020. The detailed Notice explains how to submit a Claim Form, exclude yourself, or object.
The Court will hold a final settlement hearing in this case on August 3, 2020 at 10:00 a.m. at the United States District Court, Central
District of California, First Street Courthouse, 350 W. First Street, Courtroom 8D, 8th Floor, Los Angeles, CA 90012, to consider whether
to approve the Settlement, the Plan of Allocation, and a request by Plaintiffs’ Counsel for up to one third of the Settlement Fund for
attorneys’ fees, plus actual expenses up to $1,600,000 for expenses, and reimbursement of Plaintiffs’ costs and expenses related to their
representation of the Class (including lost wages) in an amount not to exceed $87,500. You may attend the hearing and ask to be heard by
the Court, but you do not have to.                  For more information, call toll free (866-410-3013) or visit the website:
www.silverwheatonsettlement.com.
                     THIS CARD PROVIDES ONLY LIMITED INFORMATION ABOUT THE SETTLEMENT.
                   PLEASE VISIT WWW.SILVERWHEATONSETTLEMENT.COM FOR MORE INFORMATION.
                                                                                                                                                                                     #:25927




The United States District Court for the Central District of California has preliminarily approved a proposed Settlement of claims against
Silver Wheaton Corp. (“Silver Wheaton”), Randy V.J. Smallwood, Peter Barnes, Gary Brown, and Deloitte LLP (Canada) (collectively, the
“Defendants”). The Settlement resolves all of the claims in the Class Action against Defendants in which Plaintiffs allege that Defendants
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financial statements allegedly were misleading for failing to record a tax liability or to disclose a contingent liability for alleged future tax
liabilities relating to income earned by the Company’s foreign subsidiaries outside of Canada. Defendants expressly deny all allegations of
wrongdoing or liability whatsoever and deny that any Settlement Class Members were damaged. You received this Postcard Notice
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July 6, 2015 inclusive.
You received this notice because you may have purchased Silver Wheaton securities on a United States exchange or in a transaction in the
United States between March 30, 2011 and July 6, 2015, both dates inclusive, and you may be a Settlement Class Member. The Settlement
provides that, in exchange for the dismissal and release of claims against Defendants, a fund consisting of $41,500,000, less attorneys’ fees
and expenses, will be divided among Settlement Class Members who timely submit a valid Proof of Claim and Release Form (“Proof of
Claim” or “Claim Form). For a full description of the Settlement and your rights and to make a claim, please view the Stipulation of
Settlement and obtain a copy of the Internet Notice of Pendency and Proposed Settlement of Class Action (“Notice”) and Proof of Claim
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Claims Administrator through any of the following ways: (1) mail: Silver Wheaton Corp. Litigation, c/o Strategic Claims Services, P.O.
Box 230, 600 N. Jackson St, Ste. 205, Media, PA 19063; (2) call toll free: (866) 410-3013; (3) fax: (610) 565-7985; or (4) email:
info@strategicclaims.net.
To qualify for payment, you must submit a Proof of Claim.                         The Claim Form can be found on the website,
www.silverwheatonsettlement.com, or will be mailed to you upon request to the Claims Administrator (866-410-3013). Claim Forms
must be electronically submitted by June 13, 2020. If you choose to mail your claim form, at your own expense, your payout will be
reduced to reflect the increased administrative cost of processing mailed claims. Mailed claims must be postmarked by June 13,
2020. If you do not want to be legally bound by the Settlement, you must exclude yourself by June 13, 2020, or you will not be able to sue
the Defendants about the legal claims in this case. If you exclude yourself, you cannot get money from this Settlement. If you stay in the
Settlement, you may object to it by July 20, 2020. The detailed Notice explains how to submit a Claim Form, exclude yourself, or object.
The Court will hold a final settlement hearing in this case on August 3, 2020 at 10:00 a.m. at the United States District Court, Central
                                                                                                                                                    Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 9 of 86 Page ID




District of California, First Street Courthouse, 350 W. First Street, Courtroom 8D, 8 th Floor, Los Angeles, CA 90012, to consider whether
to approve the Settlement, the Plan of Allocation, and a request by Plaintiffs’ Counsel for up to one third of the Settlement Fund for
attorneys’ fees, plus actual expenses up to $1,600,000 for expenses, and reimbursement of Plaintiffs’ costs and expenses related to their
representation of the Class (including lost wages) in an amount not to exceed $87,500. You may attend the hearing and ask to be heard by
the Court, but you do not have to.                  For more information, call toll free (866-410-3013) or visit the website:
www.silverwheatonsettlement.com.
    Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 10 of 86 Page ID                 EXHIBIT B
                                      #:25928
                        REQUEST FOR NAMES,
                                     NAMES, EMAILS AND ADDRESSES OF CLASS MEMBERS
                                         STRATEGIC CLAIMS SERVICES
                                      600 N. JACKSON STREET, SUITE 205
                                              MEDIA, PA 19063
                PHONE: (610) 565-9202        EMAIL: info@strategicclaims.net FAX: (610) 565-7985

     March 16, 2020

     This letter is being sent to all entities whose names have been made available to us, or which we believe may
     know of potential class members.

     We request that you assist us in identifying any individuals who fit the following description:

     ALL PERSONS OR ENTITIES WHO PURCHASED THE PUBLICLY TRADED SECURITIES OF SILVER WHEATON CORP.,
     N/K/A WHEATON PRECIOUS METALS CORP. (“SILVER WHEATON” OR THE COMPANY) ON A UNITED STATES
     EXCHANGE OR IN A TRANSACTION IN THE UNITED STATES BETWEEN MARCH 30, 2011 AND JULY 6, 2015,
     INCLUSIVE, AND DID NOT SELL SUCH SECURITIES PRIOR TO JULY 6, 2015.

     Excluded from the Class are Defendants, all present and former officers and directors of Silver Wheaton and any subsidiary
     thereof, Deloitte and all of its present and former partners, members of all such excluded persons’ families and their legal
     representatives, heirs, successors or assigns and any entity which such excluded persons controlled or in which they have or
     had a controlling interest.

     The information below may assist you in finding the above requested information.

      Silver Wheaton Corp. Securities Litigation
      Master File No: 2:15-cv-05146-CAS-PJWx
      c/w: 2:15-cv-05173-CAS(PJWx)                                               Cusip Number: 828336107
      Claim Filing Deadline: June 13, 2020
      Exclusion Deadline: June 13, 2020
      Objection Deadline: July 20, 2020
      Settlement Hearing: August 3, 2020
                     PLEASE RESPOND WITHIN 10 CALENDAR DAYS FROM THE DATE OF THIS NOTICE
     Please comply in one of the following ways:
             1. If you have no beneficial purchasers/owners, please so advise us in writing; or
             2. Supply us with email addresses, if email addresses are not available, provide us with names
                 and last known addresses of your beneficial purchasers/owners and we will do the mailing of the
                 Postcard Notice. Please provide us this information electronically. If you are not able to do this,
                 labels will be accepted, but it is important that a hardcopy list also be submitted of your clients; or
             3. If you notify the beneficial purchasers/owners yourselves, please email us and we will send you the
                 postcard notice to email or if email addresses are not available, please email us how many
                 beneficial purchasers/owners you have, and we will supply you with ample postcards to do the
                 mailing.
     You can bill us for any reasonable expenses actually incurred and not to exceed;
                                                                              exceed
         • $0.05 per email if you email the notice;
                                              notice OR
         • $0.05 per name and address if you are providing us the records; OR
         • $0.05 per name and address, including materials, plus postage at the current postcard rate, if you are
             requesting postcards and performing the mailing.

     All invoices must be received within 30 days of this letter.
                                                          letter
     You are on record as having been notified of this legal matter. A copy of the Internet Notice of Pendency and Proposed
     Settlement of Class Action, the Proof of Claim and Release Form, and other important documents are available on our website
     at www.silverwheatonsettlement.com. You can also request a copy via email at info@strategicclaims.net.
S
     Thank you for your prompt response.
     Sincerely,
     Claims Administrator
     Silver Wheaton Corp. Litigation
                                                         EXHIBIT C
Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 11 of 86 Page ID
                                  #:25929
                                                   Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 12 of 86 Page ID
A12                 WEEK OF APRIL 6, 2020                               MUTUAL FUND      PERFORMANCE
                                                                                     #:25930                                                                                                                                                                                                                                             INVESTORS.COM

36 Mos         YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos               YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net
Performance     % % After Asset NAV Performance              % % After Asset NAV Performance               % % After Asset NAV Performance                % % After Asset NAV Performance               % % After Asset NAV Performance               % % After Asset NAV Performance              % % After Asset NAV Performance              % % After Asset NAV
Rating Fund    Chg Chg Tax Rtn Value Chg Rating Fund        Chg Chg Tax Rtn Value Chg Rating Fund         Chg Chg Tax Rtn Value Chg Rating Fund          Chg Chg Tax Rtn Value Chg Rating Fund         Chg Chg Tax Rtn Value Chg Rating Fund         Chg Chg Tax Rtn Value Chg Rating Fund        Chg Chg Tax Rtn Value Chg Rating Fund        Chg Chg Tax Rtn Value Chg
C SmCpWld529A –27– 28 +15 42.37 –.88
D+ SmCpWld529C –27– 28 +10 37.23n –.78
                                             A+ Opportunity –11– 14 +71 20.29n –.21
                                                Berkshire Funds
                                                                                          A FlexEqtInst –25– 26
                                                                                          A+ GrowEqtInst –16– 18
                                                                                                                       +33 18.79n –.30
                                                                                                                       +59 22.12n –.30
                                                                                                                                         A Thermostat – 1 – 2 +21 14.68n –.17
                                                                                                                                            Columbia Funds
                                                                                                                                                                                          DREYFUS C
                                                                                                                                                                                          $ 5.8 bil 800–346–8893
                                                                                                                                                                                                                                      A+ GrowthOpp –20– 23 +78 77.17n –1.4
                                                                                                                                                                                                                                      A– Intlappr        –20– 21 +24 19.22n –.25
                                                                                                                                                                                                                                                                                   A– REALEAT r
                                                                                                                                                                                                                                                                                   A– SaiUS
                                                                                                                                                                                                                                                                                                      –23– 23 +10 9.91n –.13
                                                                                                                                                                                                                                                                                                      –23– 24 .. 13.37n –.21
                                                                                                                                                                                                                                                                                                                                     —G—H—I—
C SmCpWld529E –27– 28 +14 40.85n –.85           $ 329 mil 877–526–0707                    A+ GrowthI         –15– 17   +76 23.85n –.39      $ 40.1 bil 800–345–6611                    A GrowthC          –17– 20 +31 11.10n –.17     A– IntlCapAppM –20– 21 +22 17.53 –.23        A+ SelectTech r –16– 19 +95 16.64n –.30         Gabelli
C+ SmCpWld529F –27– 27 +16 43.15n –.89       A+ Focus           –14– 18 +94 23.57n –.38      Brown Captl Mgmt                            A– ConvSecs        –16– 18 +21 18.46n –.14       DREYFUS I                                   A– IntlGrowth –21– 21 +18 12.61n –.21        A– SmlCapGrM r –27– 28 +30 18.27 –.34           $ 12.6 bil 800–422–3554
C SmCpWrld –27– 28 +15 42.97 –.89               BlackRock                                    $ 5.1 bil 877–892–4226                      A+ SelCom&Inf –24– 25 +73 68.37n –1.2            $ 10.6 bil 800–346–8893                     A NewInsight –21– 23 +32 25.72n –.46         E SpExIdAdv –34– 34            43.15n –1.2   A+ GrowthI         –15– 17 +57 57.78n –.95
C+ SmlCapWld –27– 27 +18 44.13n –.91            $ 5.9 bil 212–810–5596                    A SmallCo          –21– 23   +50 78.08n –1.6   A+ SelGlob         –23– 25 +75 35.06n –.64    A– EquityI         –23– 23 +27 16.32n –.21     A– SmallGrowI r –27– 28 +34 20.08n –.38      A+ Technology –16– 19 +92 46.08 –.82            Gabelli AAA
D+ SmlCapWldC –27– 28 +11 36.49n –.76        A+ OppsSvc         –14– 15 +34 55.84n –.65      Buffalo Funds                               A+ SeligCom        –24– 25 +72 68.00n –1.2       Driehaus Funds                              A– Utilities r     –24– 24 +27 26.32n –.98   A+ Technology r –17– 19 +86 39.88n –.72         $ 12.9 bil 800–422–3554
C SmlCapWldF1 –27– 28 +15 42.37n –.88                                                        $ 2.0 bil 800–492–8332                         Conestoga Cap Adv                             $ 3.6 bil 312–587–3800                         Fidelity Freedom                          C+ TotalBond r – 1 – 1 +8 10.76 +.00         A+ GrowthAAA –15– 17 +57 56.09n –.93
                                                BlackRock A
C+ SmlCapWldF2 –27– 27 +17 43.85n –.92          $ 149 bil 212–810–5596                    A SmallCap         –26– 27    +9 10.09n –.22      $ 4.0 bil 484–654–1380                     A Growth           –30– 31 +35 9.07n –.24         $ 170 bil 800–343–3548                    A+ TreasuryBd +25+ 22 .. 13.72n +.07            GlobalInv
                                                                                                                                                                                                                                                                                                                                   $ 585 mil 800–209–0777
D+ SmlCapWldR1 –27– 28 +11 37.82n –.79
D+ SmlCapWldR2 –27– 28 +11 37.86n –.79
                                             A+ CapAppInvA –16– 19 +49 23.09 –.39
                                             A+ EqInvA          –20– 23 +54 20.86 –.46
                                                                                                       —C—                               A SmallCapInv –25– 26 +50 44.59n –1.4
                                                                                                                                         A SmlCap           –25– 26 +54 45.16n –1.4
                                                                                                                                                                                          DWS Funds A
                                                                                                                                                                                          $ 14.1 bil 800–728–3337
                                                                                                                                                                                                                                      C+ 2020
                                                                                                                                                                                                                                      C+ 2025
                                                                                                                                                                                                                                                         –14– 15 +11 13.94n –.11
                                                                                                                                                                                                                                                         –16– 16 +12 12.07n –.10
                                                                                                                                                                                                                                                                                   A– Utilities r
                                                                                                                                                                                                                                                                                   A– Volatility
                                                                                                                                                                                                                                                                                                      –24– 24 +24 25.79 –.95
                                                                                                                                                                                                                                                                                                      –20– 20 .. 12.19n –.19    A EmgMktGrtCo –18– 21 +9 13.24 –.21
C– SmlCapWldR3 –27– 28 +14 40.72n –.85                                                       Calamos Funds                                  CONGRESS                                   A+ LgCpFocGrw –14– 16 +49 44.35 –.65           C+ 2030            –18– 19 +12 14.59n –.15   A WIDINSTL         –21– 22 +24 22.32n –.38   A EmgMktGrtCo –18– 21 +10 13.51n –.22
                                             D Glob Alloc p –14– 14 +2 16.60 +.00
C SmlCapWldR4 –27– 28 +16 42.60n –.89                                                        $ 34.1 bil 630–245–7200                        $ 1.3 bil 800–234–4516                        DWS Funds C                                 D+ 2040            –24– 24 +10 8.08n –.12    A Worldwide –21– 22 +22 22.16 –.38              GMO Trust III
                                             A LarCapGrInv –18– 20 +43 13.64 –.21
C+ SmlCapWldR5 –27– 27 +17 44.60n –.92                                                    A– ConvertI        –15– 17 +12 13.59n –.12     A+ CapGrowth –16– 18 +46 27.14n –.42             $ 4.5 bil 800–728–3337                      A Fund K           –16– 18 +34 42.43n –.56      FidltyAdvFoc C                               $ 23.0 bil 617–330–7500
                                             A+ OppsInvA        –14– 15 +34 55.63 –.65
                                                                                          A– GrowthI         –24– 25 +14 33.47n –.68                                                                                                     Fidelity Select                                                                        A– CorePlusBd + 1 + 1 +10 21.69n +.00
D TheInFdAm –18– 18 +7 18.94 –.14
C+ Trgt2045R1 –19– 20 +17 13.09n +.00
                                             A+ Sciences
                                                BlackRock BlRk
                                                                –14– 15 .. 58.74n –.69
                                                                                             Calvert Group                                        —D—E—                                A+ Technology –15– 18 +61 12.37n –.23
                                                                                                                                                                                          DWS Funds Instl                                $ 16.5 bil 800–343–3548
                                                                                                                                                                                                                                                                                      $ 4.7 bil 800–343–3548
                                                                                                                                                                                                                                                                                   A– Utilities r     –24– 24 +22 25.09n –.93   A– Quality         –20– 21 +29 19.84n –.38
A– USGovern        + 9 + 9 +15 14.93n +.06                                                   $ 4.3 bil 800–368–2745                         DealwareInv                                   $ 683 mil 800–728–3337                      A Computers r –19– 23 +43 68.15n –1.2           First Eagle                                  GMO Trust IV
                                                $ 9.4 bil 212–810–5596
A– USGovtSec + 9 + 8 +13 14.93n +.06                                                      A+ EquityC         –15– 16 +39 25.14n +.00        $ 20.9 bil 877–693–3546                    A– Eq500Idx        –23– 24 +22 152.44n –2.3    A+ ITServices r –21– 24 +83 59.29n –1.6         $ 101 bil 800–334–2143                       $ 20.6 bil 617–330–7500
                                             A+ CapAppK         –16– 19 +52 25.63n –.44
A– USGovtSec + 9 + 8 +14 14.93n +.06                                                         Carillon Family                             A+ HealthcareI –16– 17 +41 22.53n –.14           DWS Funds S                                 A– Utilities r     –24– 23 +28 73.35n –2.7   E GlobalA          –21– 21 +4 45.93 –.51     A– Quality         –20– 21 +29 19.88n –.38
                                                BlackRock C
A– USGvtSecF2 + 9 + 8 +14 14.93n +.06                                                        $ 20.8 bil 800–421–4184                     A– SelectGrow –21– 22 –2 14.81n –.25             $ 15.3 bil 800–728–3337                     A Wireless         –15– 16 +40 9.53n –.10       Frank/Tmp Fr A                               GMO Trust V
                                                $ 149 bil 212–810–5596
C+ Washington –24– 24 +20 36.43n –.41                                                     A CapApprI         –19– 21 +39 38.74n –.63        Dearborn                                   A+ CapGrowth –16– 18 +47 71.58n –1.3              Fidelity Spartan Adv                         $ 194 bil 800–342–5236                       $ 10.7 bil 617–330–7500
                                             A AdvLarCap –18– 20 +38 11.55n –.17
C WashingtonC –24– 24 +17 35.96n –.41                                                     A CapitalAppA –19– 21 +37 36.73 –.60              $ 613 mil 312–795–1000                     A WellnessS –14– 15 +9 33.61n –.34                $ 62.1 bil 800–343–3548                   A– ChinaWrld –12– 16 +1 14.70 –.18           A– QualityTr         0 + 0 +31 22.48n +.00
                                             A+ CapAppInvC –16– 19 +40 15.52n –.27
B– WashMutlA –24– 24 +21 36.47 –.41                                                       A– EglMidCpGrA –25– 26 +29 49.64 –.92          A– PrtnRisDvdC –20– 20 +25 14.30n –.26           Eagle Funds                                 E IntlIdFd I       –26– 26 –7 31.66n –.67    A ConvSecs         –17– 19 +29 17.93 –.28       GMO Trust VI
                                             A+ EqInvC          –20– 23 +48 16.09n –.36
C WasngtnMutl –24– 24 +17 36.07n –.40                                                     A MidCap           –25– 26 +32 53.30n –.98     A– RisDvdA         –20– 20 +28 14.39 –.27        $ 34.1 bil 800–237–3101                     B+ USBdIdI         + 4 + 3 +11 12.28n +.00   A+ Dynatech        –14– 17 +80 76.07 –1.2       $ 12.2 bil 617–330–7500
                                             A– EquityInvC –22– 23 +5 10.68n –.21         A MidCapGrw –25– 26 +31 52.86n –.97
C WasngtnMutl –24– 24 +17 35.90n –.41                                                                                                    A– RisingDiv       –20– 20 +29 14.41n –.26    A CapApprC         –20– 21 +30 25.28n –.41        Fidelity Invest                           A+ GrOppoA         –17– 19 +36 32.56 –.53    A+ Quality         –20– 21 +47 19.85n –.37
                                             D GlobAlloc p –14– 14 –1 14.77n +.00
C+ WasngtnMutl –24– 24 +18 36.13n –.41                                                    A– MidCapGrw –25– 26 +27 47.80n –.89              Delaware A                                 A– MidCpGrowC –25– 26 +24 38.48n –.71             $ 1826 bil 800–343–3548                   D– Income          –19– 19 –3 1.88 –.02         GoldmnSachs A
                                             A+ HealthInvB –14– 15 +29 48.01n –.56        A MidCapGrw –25– 26 +31 52.70n –.97               $ 54.1 bil 877–693–3546                                                                                                                                                                $ 32.1 bil 800–292–4726
C+ WasngtnMutl –24– 24 +19 36.25n –.41          BlackRock Instl                                                                                                                           Eaton Vance A                                  2020Freedom –14– 15 .. 13.93n –.10        A– Utilities1      –21– 20 +32 17.42 –.64
B– WasngtnMutl –24– 24 +20 36.45n –.41                                                       CGM Funds                                   A GrwEquity        –18– 20 +23 9.90 +.00         $ 41.6 bil 800–225–6265                     A– 500IdxInsPr –23– 23 +34 86.75n –1.3          Frank/Tmp Fr C                            A InsghtsA         –19– 21 +37 26.28 +.00
                                                $ 148 bil 212–810–5596                       $ 1.5 bil 800–345–4048                      A+ HealthCare –16– 17 +40 22.37 –.14                                                                                                                                                      GoldmnSachs C
B– WasngtnMutl –24– 24 +20 36.48n –.41       A+ CapAppInst –16– 19 +51 25.43n –.44                                                                                                     A HealthSciA –12– 13 +11 10.88 –.09            A Advchina         –12– 15 +24 34.44n –.39      $ 251 bil 800–342–5236
D World529E –23– 23 +6 39.90n –.56                                                        E Focus            –42– 38 –50 20.16n –.16     A SelectGrow –21– 22 +7 25.96 –.44               Eaton Vance C                               A AdvchinaR –12– 16 +23 34.31 –.40           A ConvSecs         –17– 19 +26 17.65n –.27      $ 6.2 bil 800–292–4726
                                             A+ EqInstl         –20– 23 +56 24.19n –.54   E Mutual           –31– 30 –29 18.58n –.17     A+ SMIDCapGrow –18– 20 +42 20.24 –.47                                                                                                                                                  A CapitlGrwth –21– 22 +19 11.37n +.00
D+ World529F –23– 23 +7 39.96n –.56          D+ Glob Alloc p –14– 14 +3 16.72n +.00                                                                                                       $ 30.2 bil 800–225–6265                     A– AdvDivStkA –18– 20 +26 21.02 –.29         A+ Dynatech        –14– 18 +73 62.66n –.95
D WorldGr          –23– 23 +3 39.67n –.55                                                    Champlain                                   A USGrowth         –16– 18 +20 17.25 –.29     A WWHlthSci –12– 13 +7 11.02n –.09             A– AdvDivStkO –18– 20 +28 21.68n –.30        A GrOppoC          –17– 19 +30 26.00n –.43   A– InsghtsC        –19– 21 +32 23.05n +.00
                                             A– LngHrznEqty –22– 23 +9 10.63n –.22           $ 2.0 bil 866–773–3238                         Delaware C                                                                                                                                                                          A+ TechOpps        –12– 15 +69 13.93n +.00
D WorldInc         –23– 23 +6 39.94 –.56     A LrgeCapInst –18– 20 +43 14.32n –.22                                                                                                        EdgeWood                                    A+ AdvSrsGro       –21– 23 +74 10.29n –.18   A Grwth            –19– 21 +37 82.10n –1.2
D WorldInc         –23– 24 +4 39.84n –.56                                                 A– MidCap b        –23– 24 +38 15.46n –.30        $ 39.9 bil 877–693–3546                       $ 15.7 bil 800–791–4226                     A+ AdvTechA r –16– 19 +94 49.26 –.88         E Income           –18– 19 –4 1.91n –.02        GoldmnSachs In
                                             A+ SciOpInst       –14– 15 +36 58.67n –.69      CLEARBRIDGE INVESTMENTS                     A GrowthC          –16– 18 +14 13.66n –.23                                                                                                                                                $ 28.2 bil 800–292–4726
   Amerindo Funds                            A+ Technology –13– 17+127 31.65n –.47                                                                                                     A+ GrwthInstl –15– 17 +82 32.77n –.43          B+ Balanced x –17– 18 +17x20.33n –.39        A– SmMidCapGr –22– 23 +4 15.54n –.31
                                                                                             $ 18.7 bil 800–691–6960                     A HealthcareC –16– 17 +35 21.06n –.14                                                        B+ BalancedK x –17– 18 +18x20.33n –.39          Frank/Tmp Fr R                            A CapitalGr        –21– 22 +30 22.00n +.00
   $ 85.4 bil 888–832–4386
D+ CpWrldG&IR5 –23– 23 +7 40.09n –.56
                                                BlackRock K                               A– ApprecatnA –21– 22 +27 20.71 +.00           A LrgCpGrow –19– 22 +32 11.90n –.22                         —F—                              A+ BluChpGro –19– 21 +57 87.75n –1.4            $ 163 bil 800–342–5236                    A GrowthOpp –20– 21 +14 15.46n +.00
                                                $ 34.4 bil 212–810–5596                   A– CapGrowthA –28– 29 +18 25.02 +.00           A+ SMIDCapGrow –19– 20 +28 8.12n –.20            Federated A                                                                                                                           A– HighYldMuni –10– 10 +20 9.22n +.08
   AMG Funds                                                                                                                                                                                                                          A+ BluChpGroK –19– 21 +57 87.97n –1.4        A+ GrOppoR         –17– 19 +34 30.69n –.51
                                             A– S&P500Ind –22– 23 +33 294.83n –4.5        A– IntlGrwC        –20– 21 +19 37.27n +.00        Delaware Instl                                $ 78.6 bil 800–245–5051                                                                                                                  GreatWest
   $ 47.9 bil 800–548–4539                                                                                                                                                                                                            A– CaptlApprK –20– 22 +18 27.03n –.51        A Grwth            –19– 21 +40 90.29n –1.3
                                                Blackrock R                                  Columbia A                                     $ 39.0 bil 877–693–3546                    A+ Kaufmann –17– 18 +35 4.99 –.07                                                                                                           $ 24.1 bil 866–831–7129
A– BrandywineI –22– 23 +23 40.76n –.69                                                                                                                                                                                                A ChinaRgn         –12– 15 +25 34.68n –.40   E Income           –19– 19 –4 1.84n –.02
                                                $ 100 bil 212–810–5596                       $ 125 bil 800–345–6611                      A– ExtendDurBd – 6 – 7 +12 6.50n –.01         A+ KaufSmlCap –22– 24 +56 33.76 –.59                                                                                                     A+ LrgCapGrwth –16– 19 +44 7.95n +.00
A GrowthN          –18– 20 +22 15.28n –.23                                                                                                                                                                                            A Contrafund –17– 19 +47 11.28n –.18         A– SmMdCapGr –21– 23 +9 22.77n –.45
                                             A+ CapAppR         –16– 19 +45 18.17n –.31   A– Conv Secs       –16– 18 +20 18.43 –.15      A LargeCap         –19– 22 +38 14.75 –.27        Federated B                                                                                                                           A PtmEqtyInit        0 + 0 +36 15.65n +.00
A MidCapGrZ –23– 25 +21 14.09n –.28                                                                                                                                                                                                   A– ConvSec x       –16– 18 +7x26.11n –.43       Frank/Tmp FrAd
                                             A+ EquityR         –20– 23 +52 20.46n –.46   A+ GlobalEq        –16– 18 +48 12.56 –.17      A SelectGrow –21– 22 +9 29.41n –.49              $ 25.0 bil 800–245–5051                                                                                                                  Guidestone
A Mont&CldGrI –18– 20 +24 15.40n –.24                                                                                                                                                                                                 A– DiscipEqK       –19– 21 +22 32.28n –.59      $ 225 bil 800–342–5236
                                             D Glob Alloc p –14– 14 +1 15.72n +.00        A+ LargeGrA        –16– 18 +41 36.68 –.57      A+ SmidCapGrwt –18– 20 +46 28.73n –.68        A+ Kaufmann –17– 19 +35 3.85n –.06                                                                                                          $ 21.2 bil 888–473–8637
A TSMidGrPr        –23– 25 +20 13.54n –.27                                                                                                                                                                                            A– DiversStk       –18– 20 +24 20.83 –.29    A ConvSecs         –17– 19 +31 17.93n –.28
                                             A+ OppsR           –14– 15 +32 54.29n –.63   A LargeGrow –20– 21 +30 7.39 –.11              A USGrowth         –16– 18 +23 19.56n –.33    A+ KaufSmlCap –22– 24 +53 28.55n –.50                                                                                                    A– EqIdxInvstr –21– 22 +34 27.90n +.00
   AmSouth A                                                                                                                                                                                                                          A EmrgAsia r –15– 17 +28 38.85n –.54         A+ Dynatech        –14– 17 +83 78.70n –1.2
                                                BlackRock Svc                             A– LrgCapCore –20– 21 +29 12.18 –.19              DEUTSCHE Asst & Wealth                        Federated C                                 A EmrgAsia         –14– 17 +29 35.91n –.50   A Grwth            –19– 21 +42 90.84n –1.3   A+ EqInvestor –15– 17 +47 22.18n +.00
   $ 107 bil 800–451–8382                       $ 34.8 bil 212–810–5596
D IncomeR5         –18– 18 +8 18.93n –.15                                                 A– MidCapGrow –23– 25 +14 18.07 –.34              $ 3.5 bil 800–621–7705                        $ 39.6 bil 800–245–5051                     A EmrgAsiaA r –14– 17 +27 34.76 –.47         D– Income          –19– 19 –2 1.86n –.02     A ExtDurBdInv + 3 + 2 +16 18.56n +.00
                                             A+ MidCapEqSvc –20– 23 +54 21.83n –.48       A+ SelCom&Inf –24– 25 +70 61.06 –1.1           A– Eq500Idx        –23– 24 +21 149.70n –2.3   A+ KaufmnC         –17– 19 +35 3.84n –.06      A EmrgAsiaC –14– 17 +24 31.13n –.42          A– SmMidCapGr –21– 23 +14 29.04n –.57        A+ GrEqInst        –15– 17 +47 22.37n +.00
   AQR Funds                                    Blackrock Funds
   $ 78.0 bil 866–290–2688                                                                A+ SelGlbTch       –23– 25 +74 34.28 –.62      A+ LgCpFocGrw –14– 16 +51 46.61n –.67         A+ KaufSmlCapC –22– 24 +53 28.56n –.50         A EmrgAsiaM r –14– 17 +26 33.69 –.46         A– Utilities       –21– 20 +33 17.56n –.65      GuideStone G2
                                                $ 143 bil 212–810–5596                    A SelLgGr          –21– 23 +21 9.77 –.21          Dimensional Funds                             Federated Funds                             A– EmrgMktK –21– 23 +17 27.50n –.35             Frank/Tmp Mutual C                           $ 4.5 bil 888–473–8637
A Deffensive –20– 21 +42 18.97n +.00         A+ Oppertunity –14– 17+115 24.44n –.37
A LargeCap         –19– 20 +31 20.08n +.00                                                A+ SmallGrI        –26– 27 +29 14.02 –.49         $ 360 bil 512–306–7400                        $ 46.4 bil 800–245–5051                     A– EnhancedIdx –21– 22 +28 12.99n –.21          $ 50.1 bil 800–342–5236                   A– EqIndxInst –21– 22 +46 27.90n +.00
                                             D– StratIncOpp – 7 – 7 –4 9.31n +.01         A+ Technology –17– 19+105 32.91 –.56           E EmMktCorEq –30– 30 –13 15.26n –.24          A+ KaufmannR –17– 19 +41 5.00n –.07            A+ EqGrowthZ –17– 20 +54 11.52n –.20         E GlbDiscov        –33– 33 –18 20.46n –.38   A ExtDurBd         + 3 + 2 +21 18.56n +.00
A– Momentum –20– 21 +23 17.25n +.00          D– StratIncOpp – 7 – 7 –1 9.32n +.01
A– MomentumI –20– 21 +22 17.31n +.00                                                      A– USTreaIdx       + 9 + 8 +15 12.32n +.03     E IntlCoreEq –31– 31 –10 9.51n –.23           A+ KaufSmlCapR –22– 24 +59 33.93n –.59         A+ FocusedStk r –18– 20 +47 21.25n –.36         Frank/Tmp Mutual R                           GurdianTr
                                             D– StrtIncOppA – 7 – 7 –2 9.31 +.00             Columbia C                                  A– IntrmGvtFxI + 9 + 8 +17 13.83n +.00        A– TotRetGovSv + 8 + 8 +16 11.85n +.02            Freedom         –18– 19 .. 14.57n –.15       $ 27.0 bil 800–342–5236                      $ 3.9 bil 704–705–1860
A– MomentumL –20– 21 +21 17.32n +.00            BNY Mellon
   Artisan Funds                                                                             $ 119 bil 800–345–6611                      D+ USCorEq1        –28– 28 +18 18.60n –.35       Federated Instl                                Freedom2025 –16– 16 .. 12.03n –.11        A+ Dynatech        –14– 17 +78 73.58n –1.1   A+ GrGlbEq           0 + 0 +43 16.72n +.00
                                                $ 45.2 bil 212–495–1784                   A– ConvSecs        –17– 18 +17 18.39n –.14     D– USCorEq2I       –29– 29 +11 16.69n –.33       $ 36.5 bil 800–245–5051                        Freedom2025 –16– 16 .. 12.05n –.11           Frank/Tmp Tp A                            A GrUSEq           –17– 18 +36 20.89n –.25
   $ 74.8 bil 800–344–1770                   A– EquityOppM –25– 26 +26 12.07n –.19
A GrowthOppo –15– 16 +48 23.66n +.00                                                      A LargeGrow –21– 23 +15 7.88n –.18             A USLCpGr          –19– 20 +43 18.67n –.26    A+ KaufSmlCap –22– 24 .. 34.37n –.60              Freedom2030 –18– 19 .. 14.55n –.15           $ 69.3 bil 800–342–5236                   A IntlEq             0 + 0 +29 14.76n +.00
                                             A– EquityY         –23– 23 +27 16.31n –.21   A LrgCapGrow –16– 18 +35 29.18n –.45           E USLgCapVal –35– 34 –2 25.08n –.44           A– MaxCapIdx –23– 23 +16 7.33n –.11               Freedom2040 –24– 24 .. 8.05n –.12         E Glob Bond        – 4 – 4 –5 10.12 +.00        Harbor Funds
A MidCapInst –15– 17 +27 34.05n +.00
                                             A GlobStockI –19– 19 +31 18.77n –.22         A– MidCapGr        –23– 25 +9 13.83n –.25      A– USLgCo          –23– 23 +33 19.08n –.29       Fidelity                                       Freedom2040 –24– 25 .. 8.07n –.12            Frank/Tmp TpAd                               $ 107 bil 800–422–1050
A+ SmallCapInv –19– 21 +49 27.34n +.00
                                             A GrowthA          –18– 19 +27 44.29 –.59    A SelgCom&Inf –24– 26 +60 37.25n –.68          A– WldXUSGvFxI + 2 + 1 +15 10.43n +.00           $ 67.9 bil 800–343–3548                        FreedomK6 –14– 15 .. 13.90n –.10             $ 78.9 bil 800–342–5236                   A+ CapApprAdm –16– 19 +53 61.85n –.90
   Ave Maria Funds
                                             A GrowthZ          –17– 20 +38 12.88n –.20   A SelGlbTch        –23– 25 +66 24.75n –.45        Dodge&Cox                                  A+ GrowthComp –16– 18 +69 14.96n –.21          A– GrowStratK r –21– 22 +27 40.06n –.58      A– ChinaWrld –12– 15 +2 14.84n –.19          A+ CapApprInv –16– 19 +52 60.30n –.88
   $ 2.0 bil 866–283–6274
                                             A IntlStkFndI –16– 17 +27 17.80n –.25        A+ Technology –17– 19 +98 29.23n –.49             $ 230 bil 800–621–3979                     A– IntlGrowth –20– 21 +16 13.94n –.23          A+ GrowthCo        –16– 19 +68 17.96n –.26   E Glob Bond        – 4 – 4 –4 10.07n –.01    A+ MidGrInv        –23– 26 +27 6.41n –.16
A Growth           –24– 25 +37 28.98n –.49
                                             A– LgCapEqI        –22– 23 +27 16.69n –.27   A– Thermostat – 2 – 2 +17 14.98n –.18          B+ Income          – 1 – 1 +11 13.77n +.00       Fidelity Adv A                              A+ GrowthOpp –20– 23 +73 70.04 –1.3             Frank/Tmp TpB/C                              Harding Lvnr
              —B—                            A ResearchGrw –17– 20 +38 12.62n –.19        A– USTreaIdx       + 9 + 8 +12 12.32n +.03     E IntlStock        –35– 35 –23 28.55n –.82       $ 140 bil 800–343–3548                      A+ GrwDiscovyK –18– 20 +58 32.78n –.59          $ 57.5 bil 800–342–5236                      $ 26.5 bil 877–435–8105
   Baird Funds                               A+ SmMdCpGrI –21– 23 +45 19.90n –.37            Columbia I,T&G                              E Stock            –32– 33 +6 128.99n –1.9    A– BiotechM        –13– 14 –4 22.70 –.31       A+ HealthCare –14– 15 +24 44.54 –.70         E GlobalBdC        – 4 – 4 –6 10.15n +.00    A– GlblEqAdv       –19– 20 +25 30.73n +.00
   $ 95.0 bil 866–442–2473                   A– StkIdxI         –23– 23 +31 46.42n –.70      $ 25.1 bil 800–345–6611                        Doubleline Funds                           A+ EquityGr        –18– 20 +51 10.21 –.18      A+ HealthCare –14– 15 +27 52.47n –.83           Franklin Temp                                Hartford A
B+ AggrBndInst + 2 + 1 +13 11.36n +.01       A StockY           –16– 17 +28 17.59n –.24   A+ LargeGrT        –16– 18 +41 36.30 –.57         $ 165 bil 213–633–8200                     A InsightsZ        –21– 23 +32 25.75n –.46     A HealthCare r –14– 15 +21 37.53n –.59          $ 176 bil 800–342–5236                       $ 44.1 bil 860–547–5000
B+ CorPlsBdIns       0 + 0 +13 11.53n +.01   A– USEqFdZ         –19– 20 +18 11.00n –.16   A– MidCapGrT –23– 25 +14 17.98 –.33            B– ReturnBdI       – 1 – 1 +8 10.46n +.00     A+ SeriesEqGr –17– 20 +56 11.72n –.20          A IndependncK –17– 19 +16 30.27n –.49        A+ DynTchClR6 –14– 17 +84 79.56n –1.2        A Healthcare –16– 16 +19 31.59 –.31
A MidCapInv –24– 25 +29 16.42n –.32             Boston & Walden                           A+ SmallGrI        –26– 27 +31 15.16n –.52     B– TotRtrnBndN – 1 – 1 +7 10.46n +.00         C+ TotalBond r – 1 – 1 +8 10.78 +.00           A– IntlCapAppA –20– 21 +23 17.99 –.24        E GlobBond         – 4 – 4 –6 10.12n +.00       Hartford C
   Baron Instl                                  $ 1.5 bil 617–726–7250                       Columbia R                                     Dreyfus                                       Fidelity Adv C                              A– IntlGrowth –21– 21 +18 12.64n –.21        A+ GrthOppR6 –17– 19 +39 36.14n –.60            $ 80.0 bil 860–547–5000
   $ 10.4 bil 800–992–2766                   A– AssetMgmt –17– 18 +31 45.75n –.49            $ 149 bil 800–345–6611                         $ 39.2 bil 800–346–8893                       $ 157 bil 800–343–3548                      E LowPriStkK –32– 32 –3 33.80n –.74          A GrthR6           –19– 21 +43 90.74n –1.3   A– CoreEq          –23– 24 +31 24.53n –.39
A+ Asset           –20– 23 +44 71.72n –1.2      BridBuild                                 A Convert          –16– 18 +22 18.60n –.15     A Apprciatn        –19– 20 +21 26.81n –.34    A+ EquityGrow r –18– 20 +44 8.32n –.15         E LowPrStk         –32– 32 –3 33.83n –.75    A– IntlGrthA       –24– 26 +24 12.56 –.22    A GrowOppor –19– 21 +26 15.60n –.31
A+ BaronGrt        –14– 18 +72 29.52n –.51      $ 56.2 bil 855–823–3611                   A– Largecap        –23– 23 +30 40.71n –.62     A GlobalA          –19– 19 +30 18.48 –.22     A+ GrowthOpp r –20– 23 +67 59.68n –1.1         A Magellan         –17– 19 +34 8.44n –.14    D– TempGlb         – 4 – 4 –4 10.07n –.01    A– Health          –16– 16 +14 24.54n –.24
A+ Opportunity –11– 14 +74 21.24n –.22       A LargeGrowth –18– 20 .. 12.98n –.19         A LargeGrow –20– 23 +24 10.95n –.25            A Research         –17– 20 +37 12.57 –.19     A– NewInsight –22– 23 +25 21.05n –.37          A– MomIndx         –19– 20 .. 11.40n –.20    A– UtlR6           –21– 20 +33 17.56n –.65      Hartford HLS IA
   Baron Retail                              A– MidCapGrwth –25– 26 .. 10.72n –.23        A– MidCapGr        –23– 25 +17 20.06n –.37     A– SustinUSEqt –19– 20 +16 10.69 –.15         A– SmallGrowA r –27– 28 +27 16.51n –.32        A– NewInsight –21– 23 +29 23.98 –.43            FRONTIER                                     $ 11.2 bil 860–547–5000
   $ 2.2 bil 800–992–2766                       Bridgeway Funds                           A SelCom&Inf –24– 26 +68 57.28n –1.0           A– WldWdGrwthC –18– 20 +23 37.74n –.51        C TotalBond r – 1 – 1 +6 10.78n +.00           A+ OppsGrowth –20– 23 +44 77.92n –1.4           $ 2.0 bil 888–825–2100                    A DiscpEq          –23– 24 +23 12.28n –.20
A+ Partners        –29– 33 +46 48.80n –.91      $ 2.9 bil 800–531–4066                       Columbia Y                                  A WrldwdGrwth –18– 19 +28 44.60n –.60            Fidelity Adv I                              A+ OTC             –17– 20 +68 10.58n –.14   A MFGGlobalEq –16– 18 +38 16.73n –.22        A GlobalGrow –18– 20 +43 22.88n –.34
   Baron Funds                               A– BluChp35Idx –23– 23 +32 11.57n –.18          $ 40.3 bil 800–345–6611                        DREYFUS A                                     $ 145 bil 800–343–3548                      A+ OTCK            –17– 20 +68 10.76n –.14   A PlusSvc          –16– 18 .. 11.59n –.15    A Stock            –21– 21 +36 73.58n –1.2
   $ 6.1 bil 800–992–2766                       Brown Advisory                            A LrgCapGr         –20– 23 +24 11.14n –.25        $ 15.8 bil 800–346–8893                    A– Biotchnolgy –13– 14 –1 25.85n –.35          A– PacificBas r –19– 21 +22 27.88n –.41         FrostFunds                                   Hartford HLS IB
A Asset            –20– 23 +42 68.75n –1.2      $ 9.2 bil 410–537–5400                       Columbia Z                                  A– IntlStkA        –16– 17 +26 17.71 –.25     A– DiverStck       –18– 20 +27 22.54n –.31     A– Puritan x       –13– 15 +19x19.62n –.26      $ 8.1 bil 800–513–7678                       $ 25.9 bil 860–547–5000
A Discovery        –26– 27 +32 15.76n –.35   A EquityInv        –25– 26 +32 18.75n –.31      $ 65.7 bil 800–345–6611                     A+ MidCapA         –21– 23 +43 19.10 –.36     A+ EquityGrow –17– 20 +53 11.41n –.20          A– PuritanK x –13– 15 +20x19.60n –.27        A+ GrwEqInv b –16– 19 +44 11.18n –.18        A DiscpEq          –23– 24 +22 12.11n –.20

36 Mos         YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos               YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos              YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net         36 Mos             YTD 12Wk 5 Yr Net
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                                                                        UNITED STATES DISTRICT COURT


                                                                                                                                                                                                                                     SwingTrader
                                                                            DISTRICT OF ARIZONA

      Richard Di Donato, Individually and On Behalf                                                                                No. 16-cv-00302-NVW
      of All Others Similarly Situated,

                          v.
                                                          Plaintiff,                                                               CLASS ACTION                                                                                      +ou;|"l-u|m;vঞm] ;1bvbomĺ
    Insys Therapeutics, Inc.; Michael L. Babich;
    Darryl S. Baker; and John N. Kapoor,
                                                          Defendants.


                                        SUMMARY NOTICE OF PENDENCY OF CLASS ACTION AND PENDING
                                     CONSENT MOTION TO VOLUNTARILY DISMISS INSYS THERAPEUTICS, INC.
                                       FROM THE ACTION WITH PREJUDICE BASED UPON ITS BANKRUPTCY

    TO:        ALL PERSONS AND ENTITIES WHO PURCHASED OR OTHERWISE ACQUIRED INSYS THERAPEUTICS,
               INC. COMMON STOCK DURING THE PERIOD FROM MARCH 3, 2015, THROUGH JANUARY 25, 2016, AND
               WERE DAMAGED THEREBY (THE “CLASS”)

    YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States District
    Court for the District of Arizona, that the above-captioned action (“Action”) against Michael L. Babich, Darryl S. Baker, and John N.
    Kapoor (collectively, “Defendants”), has been certified as a class action on behalf of the Class, except for certain persons and entities that
    are excluded from the Class by definition as set forth in the full Notice of Pendency of Class Action and Pending Consent Motion to
    Voluntarily Dismiss Insys Therapeutics, Inc. from the Action with Prejudice Based Upon its Bankruptcy (“Notice”) posted on
    www.InsysRXSecuritiesLitigation.com. The Class was not certified against Insys Therapeutics, Inc. (“Insys” or the “Company”), as
    claims against Insys are subject to an automatic and mandatory stay of litigation pursuant to 11 U.S.C. § 362 of the United States Code.
                                                                                                                                                                                                                                     We invite you to take a
    YOU ARE ALSO HEREBY NOTIFIED that the Class Representative has a pending motion for voluntary dismissal with prejudice of the
    claims in the Action against Insys given the Company’s bankruptcy and the Class’s inability to pursue claims against Insys in the Action.                                                                                        1olrѴbl;m|-u=ou;;h|ub-Ѵĺ
                                                                                                                                                                                                                                     1.800.648.7285 l www.investors.com/Swing1
    IF YOU ARE A MEMBER OF THE CLASS, YOUR RIGHTS WILL BE AFFECTED BY THIS LAWSUIT. This notice provides only a
    summary of the information contained in the full Notice. You may obtain a copy of the Notice from the website for the Action,
    www.InsysRXSecuritiesLitigation.com, or by contacting the Administrator:                                                                                                                                                         © 2017 Investor’s Business Daily, Inc. Investor’s Business Daily, IBD and
                                                                                                                                                                                                                                     CAN SLIM and corresponding logos are registered trademarks owned by
                                                                        Insys Therapeutics, Inc. Securities Litigation                                                                                                               Investor’s Business Daily, Inc.
                                                                                    c/o A.B. Data, Ltd.
                                                                                     P.O. Box 170999
                                                                                  Milwaukee, WI 53217
                                                                                      (866) 905-8102
                                                                          info@InsysRXSecuritiesLitigation.com                                                                                                                                         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                                                                                                                               In re Silver Wheaton Corp. Securities Litigation          Master File No: 2:15-cv-05146-CAS-PJWx
    If you are a Class member and do not receive a Postcard Notice regarding the Action by mail, please send your name and address to the                                                                                                                                                c/w: 2:15-cv-05173-CAS(PJWx)
    Administrator so that if any future notices are disseminated in connection with the Action, you will receive them.                                                                                                                     SUMMARY NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF CLASS ACTION
                                                                                                                                                                                                                               TO: ALL PERSONS WHO PURCHASED SILVER WHEATON CORP. SECURITIES ON A UNITED STATES EXCHANGE
    Inquiries, other than requests for the Notice, may be made to Court-appointed Class Counsel:                                                                                                                               OR IN DOMESTIC U.S. TRANSACTIONS BETWEEN MARCH 30, 2011 AND JULY 6, 2015, INCLUSIVE
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                                                                   KESSLER TOPAZ MELTZER & CHECK, LLP                                                                                                                          WRQ3UHFLRXV0HWDOV&RUSFHUWDLQRILWVRIÀFHUVDQG'HORLWWH//3 &DQDGD  ´6HWWOHPHQWµ SXUVXDQWWRDQ2UGHU
                                                                         Johnston de F. Whitman, Jr., Esq.                                                                                                                     RIWKH8QLWHG6WDWHV'LVWULFW&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLDWKDWDKHDULQJZLOOEHKHOGRQ$XJXVW
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                                                                             280 King of Prussia Road                                                                                                                          RI&DOLIRUQLD)LUVW6WUHHW&RXUWKRXVH:)LUVW6WUHHW&RXUWURRP'WK)ORRU/RV$QJHOHV&$ WKH
                                                                                Radnor, PA 19087                                                                                                                               ´6HWWOHPHQW+HDULQJµ IRUWKHSXUSRVHRIGHWHUPLQLQJ  ZKHWKHUWKHSURSRVHG6HWWOHPHQWFRQVLVWLQJRIWKH
                                                                            Telephone: (610) 667-7706                                                                                                                          VXPRILQFDVKVKRXOGEHDSSURYHGE\WKH&RXUWDVIDLUUHDVRQDEOHDQGDGHTXDWH  ZKHWKHU
                                                                            Facsimile: (610) 667-7056                                                                                                                          WKHSURSRVHGSODQWRGLVWULEXWHWKHVHWWOHPHQWSURFHHGVLVIDLUUHDVRQDEOHDQGDGHTXDWH  ZKHWKHUWKHDSSOL-
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                                                                                     Jennifer L. Joost, Esq.                                                                                                                   SHUSODLQWLIIRUFROOHFWLYHO\WRDOO3ODLQWLIIVVKRXOGEHDSSURYHGDQG  ZKHWKHUD)LQDO-XGJPHQW
                                                                                                                                                                                                                               should be entered dismissing this Litigation with prejudice and releasing the Released Claims.
                                                                                 One Sansome Street, Suite 1850                                                                                                                   ,I\RXSXUFKDVHG6LOYHU:KHDWRQVHFXULWLHVRQD86H[FKDQJHRULQ86WUDQVDFWLRQVEHWZHHQ0DUFK
                                                                                    San Francisco, CA 94104                                                                                                                    DQG-XO\LQFOXVLYH WKH´&ODVV3HULRGµ \RXUULJKWVPD\EHDIIHFWHGE\WKH6HWWOHPHQWRIWKLV
                                                                                   Telephone: (415) 400-3000                                                                                                                   DFWLRQ,I\RXKDYHQRWUHFHLYHGDGHWDLOHG,QWHUQHW1RWLFHRI3HQGHQF\DQG3URSRVHG6HWWOHPHQWRI&ODVV$FWLRQ
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                                                                                   Facsimile: (415) 400-3001                                                                                                                   contacting the Claims Administrator at: (1) Mail: Silver Wheaton Corp. Litigation, c/o Strategic Claims Services,
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                                                                                             info@ktmc.com                                                                                                                       RU  (PDLOLQIR#VWUDWHJLFFODLPVQHWRUE\JRLQJWRWKHZHEVLWHZZZVLOYHUZKHDWRQVHWWOHPHQW
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    If you are a Class member, you have the right to decide whether to remain a member of the Class. If you choose to remain a member of                                                                                       $GPLQLVWUDWRUHVWDEOLVKLQJWKDW\RXDUHHQWLWOHGWRUHFRYHU\,I\RXDUHXQDEOHWRHOHFWURQLFDOO\VXEPLWD3URRIRI
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    the Class, you do not need to do anything at this time other than retain documentation reflecting your transactions in Insys common                                                                                        DPRXQWRI\RXUSD\RXWZLOOEHUHGXFHGWRUHÁHFWDGGLWLRQDODGPLQLVWUDWLYHFRVWV8QOHVV\RXVXEPLWDZULWWHQ
    stock. You will automatically be included in the Class, and you will be bound by the proceedings in the Action, including all past, present,                                                                               H[FOXVLRQUHTXHVW\RXZLOOEHERXQGE\DQ\MXGJPHQWUHQGHUHGLQWKH/LWLJDWLRQZKHWKHURUQRW\RXPDNHD
    and future orders and judgments of the Court, whether favorable or unfavorable. If you are a Class member and do not wish to remain a                                                                                      FODLP,I\RXGHVLUHWREHH[FOXGHGIURPWKH&ODVV\RXPXVWVXEPLWDUHTXHVWIRUH[FOXVLRQUHFHLYHGQRODWHU
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    member of the Class, you must take steps to exclude yourself from the Class.                                                                                                                                               DVWKH3ODLQWLIIV·&RXQVHODQG'HIHQGDQWV·&RXQVHODWWKHDGGUHVVHVOLVWHGEHORZ
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    If you timely and validly request to be excluded from the Class, you will not be bound by any orders or judgments in the Action, and you will                                                                              RIDWWRUQH\V·IHHVDQGUHLPEXUVHPHQWRIH[SHQVHVPXVWEHLQWKHPDQQHUDQGIRUPH[SODLQHGLQWKHGHWDLOHG
    not be eligible to receive a share of any money which might be recovered in the Action in the future for the benefit of the Class. To exclude                                                                              1RWLFHDQGUHFHLYHGQRODWHUWKDQ-XO\WRHDFKRIWKHIROORZLQJ
    yourself from the Class, you must submit a written request for exclusion postmarked no later than April 30, 2020, in accordance with the                                                                                             &OHUNRIWKH&RXUW                                                         Plaintiffs’ Counsel:
    instructions set forth in the Postcard Notice or full Notice. Pursuant to Rule 23(e)(4) of the Federal Rules of Civil Procedure, it is within the                                                                                    United States District Court                                               Jonathan Horne
                                                                                                                                                                                                                                         &HQWUDO'LVWULFWRI&DOLIRUQLD                                             THE ROSEN LAW FIRM, P.A.
    Court’s discretion as to whether a second opportunity to request exclusion from the Class will be allowed if there is a settlement or judgment                                                                                       First Street U.S. Courthouse                                               275 Madison Avenue, 40th Floor
    in the Action; accordingly, this may be the only opportunity for a member of the Class to request exclusion from the Class. Moreover, if you                                                                                         350 W 1st Street, Suite 4311                                               1HZ<RUN1<
    are a Class member and you wish to object to Class Representative’s pending motion to voluntarily dismiss Insys from the Action with                                                                                                 /RV$QJHOHV&$
    prejudice, you must do so by no later than April 30, 2020, in accordance with the instructions set forth in the Postcard Notice or full Notice.                                                                                      Silver Wheaton Defendants’ Counsel:                                        Deloitte’s Counsel:
                                                                                                                                                                                                                                         *UHJRU\/:DWWV                                                           Lee G. Dunst
                                                                                                                                                                                                                                         WILSON SONSINI GOODRICH & ROSATI, P.C.                                     GIBSON, DUNN & CRUTCHER LLP
    Further information may be obtained by contacting the Administrator as set forth above or by visiting the website                                                                                                                    )LIWK$YHQXH6XLWH                                               3DUN$YHQXH
    www.InsysRXSecuritiesLitigation.com.                                                                                                                                                                                                 6HDWWOH:$                                                          1HZ<RUN1<
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                                                              Please Do Not Call or Write the Court with Questions.                                                                                                            listed above. Please visit www.silverwheatonsettlement.comIRUPRUHLQIRUPDWLRQ
                                                                                                                                                                                                                               PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE REGARDING THIS NOTICE.
    DATED: April 6, 2020                                                                                                                                           BY ORDER OF THE COURT                                       '$7('0$5&+                                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                                                                                                                               BY ORDER OF THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
Josephine Bravata

From:                              phhubs@prnewswire.com
Sent:                              Monday, April 06, 2020 8:00 AM
To:                                jbravata@strategicclaims.net
Subject:                           PR Newswire: Press Release Distribution Confirmation for The Rosen Law Firm, P.A.. ID#2749135-1-1


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                                   #:25932                                     EXHIBIT D
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                                  Master File No: 2:15-cv-05146-CAS-PJWx
  In re Silver Wheaton Corp.                      c/w: 2:15-cv-05173-CAS(PJWx)
  Securities Litigation


                            INTERNET NOTICE OF PENDENCY AND
                          PROPOSED SETTLEMENT OF CLASS ACTION

If you purchased the publicly traded securities of Silver Wheaton Corp., n/k/a Wheaton Precious Metals
Corp. (“Silver Wheaton” or the “Company”) on a United States exchange (Cusip # 828336107) or in a
transaction in the United States between March 30, 2011 and July 6, 2015, inclusive (“Class Period”), you
could get a payment from a class action settlement (the “Settlement”).
            A federal court has authorized this notice. This is not a solicitation from a lawyer.
    • If approved by the Court, the Settlement will provide $41,500,000 plus interest (the “Settlement
        Amount”), to pay claims of investors who purchased publicly traded Silver Wheaton securities on
        a United States exchange or in a transaction in the United States during the period between March
        30, 2011 and July 6, 2015, inclusive, and allegedly were damaged thereby (the “Settlement Class”).
    • The Settlement represents an average recovery of $0.165 per share of Silver Wheaton stock for the
        251 million shares outstanding and traded on the NYSE during the Class Period. A share may
        have been traded more than once during the Class Period. This estimate solely reflects the average
        recovery per outstanding share of Silver Wheaton stock traded on the NYSE. The indicated
        average recovery per share will be the total average recovery for all purchasers of that share. This
        is not an estimate of the actual recovery per share you should expect. Your actual recovery will
        depend on the aggregate claimed losses of all Settlement Class Members, the date(s) you purchased
        and sold Silver Wheaton securities, and the total number and amount of claims filed.
    • Attorneys for Plaintiffs (“Plaintiffs’ Counsel”) intend to ask the Court to award them fees of up to
        $13,833,333 or one-third (33.3%) of the Settlement Amount, reimbursement of litigation expenses
        of no more than $1,600,000 and an award to Plaintiffs of $12,500 each for reimbursement of
        reasonable costs and expenses (including lost wages) directly relating to their representation of the
        Settlement Class, collectively not to exceed $87,500. If approved by the Court, these amounts will
        be paid from the Settlement Fund.
    • If the above amounts are requested and approved by the Court, the average cost per share of
        common stock will be approximately $0.061 per share, making the estimated recovery per share
        after fees and expenses approximately $0.104. This estimate is based on the assumptions set forth
        in the preceding paragraph. Your actual recovery, if any, will vary depending on your purchase
        price and sales price, and the number and amount of claims filed.
    • The Settlement resolves the lawsuit concerning whether Silver Wheaton, its auditor, Deloitte LLP
        (Canada) (“Deloitte”), and certain of Silver Wheaton’s executive officers made false and
        misleading statements, in violation of federal securities laws, based upon the allegations set forth
        in the Second Amended Complaint (“Complaint”) including that Silver Wheaton’s 2010-2014
        financial statements were misleading for failing to record a tax liability or to disclose a contingent
        liability for alleged future tax liabilities relating to income earned by the Company’s foreign
        subsidiaries outside of Canada.
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   •  Your legal rights will be affected whether you act or do not act. If you do not act, you may
      permanently forfeit your right to recover on this claim. Therefore, you should read this notice
      carefully.
   • A copy of the Stipulation of Settlement, which is incorporated by reference herein, is available at
      www.silverwheatonsettlement.com. Capitalized terms in this notice shall have the same meaning
      as in the Stipulation of Settlement.
               YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
    SUBMIT A CLAIM FORM NO                 The only way to get a payment.
    LATER THAN
    JUNE 13, 2020
    EXCLUDE YOURSELF NO                    Get no payment. This is the only option that allows
    LATER THAN                             you to be part of any other lawsuit against the
    JUNE 13, 2020                          Defendants about the legal claims in this case.
    OBJECT NO LATER THAN                   Write to the Court about why you do not like the
    JULY 20, 2020                          Settlement.
    GO TO A HEARING ON                     You may ask to speak in Court about the fairness of
    AUGUST 3, 2020                         the Settlement.
    DO NOTHING                             Get no payment. Give up rights.

                                            INQUIRIES
Please do not contact the Court regarding this notice. All inquiries concerning this Notice, the Proof
of Claim and Release Form, or any other questions by Settlement Class Members should be directed to:

         Silver Wheaton Corp. Litigation            or              Jonathan Horne, Esq.
          c/o Strategic Claims Services                        THE ROSEN LAW FIRM, P.A.
                   P.O. Box 230                                275 Madison Avenue, 40th Floor
           600 N. Jackson St., Ste. 205                         New York, New York 10016
                 Media, PA 19063                                     Tel.: 212-686-1060
                Tel.: 866-410-3013                                   Fax: 212-202-3827
                Fax: 610-565-7985                                   info@rosenlegal.com
             info@strategicclaims.net




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      COMMON QUESTIONS AND ANSWERS CONCERNING THE SETTLEMENT
1.   Why did I get this Notice?
     You or someone in your family may have acquired Silver Wheaton securities during the Class
     Period.

2.   What is this lawsuit about?
     The case is known as In re Silver Wheaton Corp. Securities Litigation, Case No. 15-cv-5146-CAS-
     PJWx (the “Action”), and the court in charge of the case is the United States District Court for the
     Central District of California (the “Court”).

     The Action involves whether Defendants violated the federal securities laws because they
     allegedly made false and misleading statements to the investing public as set out in the Complaint,
     including allegations that Silver Wheaton’s 2010-2014 financial statements were misleading for
     failing to record a tax liability or to disclose a contingent liability for alleged future tax liabilities
     relating to income earned by the Company’s foreign subsidiaries outside of Canada. Defendants
     expressly deny all allegations of wrongdoing or liability whatsoever and deny that any Settlement
     Class Members were damaged. The Settlement resolves all of the claims in the Class Action
     against Defendants.

3.   Why is this a class action?
     In a class action, one or more persons and/or entities, called representative plaintiffs, sue on behalf
     of all persons and/or entities who have similar claims. All of these persons and/or entities are
     referred to collectively as a class, and these individual persons and/or entities are known as class
     members. One court resolves all of the issues for all class members, except for those class
     members who validly exclude themselves from the class.

4.   Why is there a Settlement?
     Plaintiffs and Defendants do not agree regarding the merits of Plaintiffs’ allegations with respect
     to liability or the average amount of damages per share that would be recoverable if Plaintiffs were
     to prevail at trial on each claim. The issues on which the Plaintiffs and Defendants disagree
     include: (1) whether Defendants made materially false and misleading statements; (2) whether
     Defendants made such statements with the intent to defraud the investing public; (3) whether the
     statements were the cause of the Settlement Class Members’ alleged damages; and (4) the amount
     of damages, if any, suffered by the Settlement Class Members.

     This matter has not gone to trial and the Court has not decided in favor of either Plaintiffs or
     Defendants. Instead, Plaintiffs and Defendants have agreed to settle the Action. The Plaintiffs
     and Plaintiffs’ Counsel believe the Settlement is best for all Settlement Class Members because of
     the risks associated with continued litigation and the nature of the defenses raised by Defendants.
     Even if Plaintiffs were to win at trial, and also withstand Defendants’ inevitable challenge on
     appeal, Plaintiffs might not be able to collect some, or all, of the judgment.

5.   How do I know if I am part of the Class Settlement?
     To be a Settlement Class Member, you must have purchased publicly traded Silver Wheaton
     securities: (i) on a U.S. exchange, or (ii) in a transaction in the United States, during the period
     from March 30, 2011 to July 6, 2015, inclusive, and not sold such securities prior to July 6, 2015.




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6.     Are there exceptions to being included?
       Yes. Excluded from the Settlement Class are (i) persons who sold their shares prior to July 6,
       2015; (ii) persons who validly exclude themselves from the Settlement Class, as described below;
       (iii) Defendants, all present and former officers and directors of Silver Wheaton and any subsidiary
       thereof, Deloitte and all of its present and former partners, members of all such excluded persons’
       families and their legal representatives, heirs, successors or assigns and any entity which such
       excluded persons controlled or in which they have or had a controlling interest.

7.     What does the Settlement provide?
       (a)     What is the Settlement Fund?
       The proposed Settlement calls for the creation of a Settlement Fund (the “Settlement Fund”) in the
       amount of $41,500,000. The Settlement is subject to Court approval. Also, subject to the Court’s
       approval, a portion of the Settlement Fund will be used to pay Plaintiffs’ Counsel’s attorneys’ fees
       and reasonable litigation expenses and any award to Plaintiffs for reimbursement of reasonable
       costs and expenses (including lost wages) directly relating to their representation of the Settlement
       Class. A portion of the Settlement Fund also will be used to pay taxes due on interest earned by
       the Settlement Fund, if necessary, and any notice and claims administration expenses permitted by
       the Court. After the foregoing deductions from the Settlement Fund have been made, the amount
       remaining (the “Net Settlement Fund”) will be distributed to Settlement Class Members who
       submit valid claims.

       (b)     What can I expect to receive under the proposed Settlement?
       Your share of the Net Settlement Fund will or may depend on: (i) the number of claims filed; (ii)
       the dates you purchased and sold Silver Wheaton securities; (iii) the prices of your purchases and
       sales; (iv) the amount of administrative costs, including the costs of notice; and (v) the amount
       awarded by the Court to Plaintiffs and their counsel for attorneys’ fees, costs, and expenses.

       The Net Settlement Fund will be distributed to Settlement Class Members who submit valid,
       timely claim forms (“Authorized Claimants”) under the below Plan of Allocation, which reflects
       Plaintiffs’ contention that because of the alleged misrepresentations and omissions made by
       Defendants, the price of Silver Wheaton stock was artificially inflated during the Class Period and
       that disclosure of the “true facts” caused changes in the inflated stock price.

        The Recognized Claim of each Authorized Claimant shall be calculated according to the following
        Plan of Allocation:
                               PROPOSED PLAN OF ALLOCATION
        The Plan of Allocation is a matter separate and apart from the proposed Settlement, and any
decision by the Court concerning the Plan of Allocation shall not affect the validity or finality of the
proposed Settlement. The Court may approve the Plan of Allocation with or without modifications agreed
to among the Parties, or another plan of allocation, without further notice to Settlement Class Members.
Any orders regarding a modification of the Plan of Allocation will be posted to the website for this
Settlement, www.silverwheatonsettlement.com.
        The Claims Administrator shall determine each Authorized Claimant’s pro rata share of the Net
Settlement Fund based upon each Authorized Claimant’s Recognized Claim. Please Note: The
Recognized Claim formula, set forth below, is not intended to be an estimate of the amount of what a
Settlement Class Member might have been able to recover after a trial, nor is it an estimate of the amount
that will be paid to Authorized Claimants pursuant to the Settlement. The Recognized Claim formula is
the basis upon which the Net Settlement Fund will be proportionately allocated to the Authorized

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Claimants. To the extent there are sufficient funds in the Net Settlement Fund, each Authorized Claimant
will receive an amount equal to the Authorized Claimant’s Recognized Claim. If, however, the amount
in the Net Settlement Fund is not sufficient to permit payment of the total Recognized Claim of each
Authorized Claimant, then each Authorized Claimant shall be paid the percentage of the Net Settlement
Fund that each Authorized Claimant’s Recognized Claim bears to the total Recognized Claims of all
Authorized Claimants (i.e., “pro rata share”). Payment in this manner shall be deemed conclusive against
all Authorized Claimants. No distribution will be made on a claim where the potential distribution amount
is less than ten dollars ($10.00) in cash.
         If any funds remain in the Net Settlement Fund by reason of uncashed checks, or otherwise, after
the Claims Administrator has made reasonable and diligent efforts to have Authorized Claimants who are
entitled to participate in the distribution of the Net Settlement Fund cash their distribution checks, then
any balance remaining in the Net Settlement Fund six (6) months after the initial distribution of such funds
shall be used: (i) first, to pay any amounts mistakenly omitted from the initial distribution to Authorized
Claimants; (ii) second, to pay any additional Administrative Costs incurred in administering the
Settlement; and (iii) finally, to make a second distribution to Authorized Claimants who cashed their
checks from the initial distribution and who would receive at least $10.00 from such second distribution,
after payment of the estimated costs or fees to be incurred in administering the Net Settlement Fund and
in making this second distribution, if such second distribution is economically feasible. If six (6) months
after such second distribution, if undertaken, or if such second distribution is not undertaken, any funds
shall remain in the Net Settlement Fund, any funds remaining in the Net Settlement Fund shall be donated
to a non-profit charitable organization(s) selected by Plaintiffs’ Counsel.
                 THE BASIS FOR CALCULATING YOUR RECOGNIZED CLAIM:
         Each Authorized Claimant shall be allocated a pro rata share of the Net Settlement Fund based on
his, her or its Recognized Claim as compared to the total Recognized Claims of all Authorized Claimants.

Calculation of Recognized Claim for Common Stock Purchased During the Class Period:
For shares of common stock purchased between March 30, 2011 and July 6, 2015, inclusive:
       A.      For shares sold prior to the close of trading on July 6, 2015, the Recognized Claim shall
               be zero.
       B.      For shares retained at the close of trading on July 6, 2015, the Recognized Claim shall be
               $1.45.

        For purposes of calculating your Recognized Claim, the date of purchase, acquisition or sale is the
“contract” or “trade” date and not the “settlement” or “payment” date. The receipt or grant by gift,
inheritance or operation of law of Silver Wheaton stock shall not be deemed a purchase, acquisition or
sale of Silver Wheaton stock for the calculation of an Authorized Claimant’s Recognized Claim. Any
shares transferred into your account must be listed at $0.00 per share and marked as received shares or
“R”. If you choose to provide purchase documentation related to the transfer, please do so. Any shares
transferred out of your account must be listed at the price of $0.00 per share and marked as delivered
shares or “D”. If you choose to provide sale documentation related to the transfer, please do so.
        For purposes of calculating your Recognized Claim, all purchases, acquisitions and sales shall be
matched on a First In First Out (“FIFO”) basis in chronological order. Therefore, on the Proof of Claim
and Release Form enclosed with this Notice, you must provide all of your purchases, acquisitions and
sales of Silver Wheaton stock during the time period from March 30, 2011 through and including July 6,
2015.
        Payment pursuant to the Plan of Allocation approved by the Court shall be conclusive against all
Authorized Claimants. No person shall have any claim against Defendants, Defendants’ counsel,
Plaintiffs, Plaintiffs’ Counsel or the Claims Administrator or other agent designated by Plaintiffs’ Counsel
based on the distributions made substantially in accordance with the Stipulation of Settlement and the

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Settlement contained therein, the Plan of Allocation, or further orders of the Court. Each claimant shall
be deemed to have submitted to the jurisdiction of the Court with respect to the review and approval of
the claimant’s Proof of Claim and Release Form. All persons involved in the review, verification,
calculation, tabulation, or any other aspect of the processing of the claims submitted in connection with
the Settlement, or otherwise involved in the administration or taxation of the Settlement Fund or the Net
Settlement Fund shall be released and discharged from any and all claims arising out of such involvement,
and all Settlement Class Members, whether or not they are to receive payment from the Net Settlement
Fund, will be barred from making any further claim against the Net Settlement Fund beyond the amount
allocated to them as provided in any distribution orders entered by the Court.

Are there any further limitations on the amount I may receive?
             (i)    Transactions during the Class Period resulting in a gain shall be netted against the
                    Settlement Class Member’s transactions resulting in a loss to arrive at the actual
                    trading loss for the claim. To the extent that any Settlement Class Member’s actual
                    trading loss is less than the Recognized Claim calculated for the Settlement Class
                    Member’s claim, then the amount of the claim will be limited to the Settlement
                    Class Member’s actual trading loss.
             (ii)   Any Settlement Class Member whose collective transactions in Silver Wheaton
                    securities during the Class Period resulted in a net gain shall not be entitled to share
                    in the Net Settlement Fund.
             (iii) The purchase and sale prices exclude any brokerage commissions, transfer taxes or
                    other fees. The covering purchase of a short sale is not an eligible purchase. Gifts
                    and transfers are not eligible purchases.
             (iv)   Exercise of option contracts into Silver Wheaton common stock will be considered
                    to be purchases or sales of Silver Wheaton common stock on the date of the
                    exercise.
             (v)    When providing share transactions during the Class Period, your claim form must
                    balance. The shares at the beginning of the Class Period, plus purchases during the
                    Class Period, minus sales during the Class Period, must equal the shares balance at
                    the end of the Class Period. If you submit a claim that does not balance, your claim
                    will not be processed and may be ineligible to participate in this settlement.

8.     How can I get a payment?
       To qualify for a payment, you should fill out a form online at www.silverwheatonsettlement.com
       (“Case Website”). Read the instructions carefully, fill out the form, and sign it in the location
       indicated. The Case Website also includes instructions on downloading your transaction data
       directly from your brokerage so that you do not have to manually enter each transaction.

       If you are unable to fill out a form online, please print the form entitled “Proof of Claim and
       Release Form” (also called the “Claim Form”) available on the Case Website, fill it out, and mail
       it to the address below:
                                    Silver Wheaton Corp. Litigation
                                      c/o Strategic Claims Services
                                              P.O. Box 230
                                       600 N. Jackson St., Ste. 205
                                            Media, PA 19063
                                           Tel.: 866-410-3013
                                           Fax: 610-565-7985
                                        info@strategicclaims.net

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     Please note that if you choose to print and mail a form, you will need to manually enter each
     transaction.

     Typically, most class members submit electronic claims. Submitting a claim by mail significantly
     increases the time necessary to process the claim, which both delays payments to all Settlement
     Class Members and reduces the amount of money that can be distributed to Settlement Class
     Members. Accordingly, if you choose to submit a claim by mail, your Recognized Claim will be
     reduced by the greater of $5 or 1%.

     The Claims Administrator will process your claim and determine whether you are an “Authorized
     Claimant.”

9.   What am I giving up to get a payment or stay in the Settlement Class?
     Unless you validly exclude yourself, you will remain in the Settlement Class. That means that if
     the Settlement is approved, you and all Settlement Class Members will release (agreeing never to
     sue, continue to sue, or be part of any other lawsuit) the Released Claims (as defined below) against
     the “Released Persons” defined as: Defendants, their present and former parents, subsidiaries,
     divisions, departments, affiliates, stockholders, partners, officers, directors, employees, agents,
     insurers, co-insurers, reinsurers, accountants, auditors, financial advisors, investment bankers,
     underwriters, attorneys (including Defendants’ counsel), transfer pricing consultants, assigns,
     spouses, heirs, or any entity in which any Defendant has a controlling interest, any member of any
     Individual Defendant’s immediate family, or any trust of which any Individual Defendant is the
     settler or which is for the benefit of any Individual Defendant and/or member(s) of his family (and
     the predecessors, successors, administrators and assigns of each of the foregoing).

     “Released Claims” or “Release of Claims” means any and all Claims (including Unknown
     Claims), rights, demands, obligations, damages, actions or causes of action, or liabilities
     whatsoever, of every nature and description, whether known or unknown, whether arising under
     federal, state, common or foreign law or regulation, that have been, could have been, or in the
     future can or might be asserted by any member of the Settlement Class, or their successors, assigns,
     executors, administrators, representatives, attorneys, and agents, in their capacities as such, against
     the Released Persons arising out of, relating to, or in connection with both (a) the purchase,
     acquisition, holding, sale or other disposition of publicly traded Silver Wheaton securities on a
     United States exchange or in a U.S. transaction during the Class Period and (b) the acts, facts,
     events, transactions, occurrences, statements, representations or omissions that were or could have
     been alleged or asserted by Plaintiffs or any member of the Settlement Class in the Action or in
     any other action in any court or forum. For avoidance of doubt, the term “Released Claims” does
     not include any claims arising out of, relating to, or in connection with the purchase, acquisition,
     holding, sale or other disposition of Silver Wheaton securities on a non-U.S. exchange or in a non-
     U.S. transaction. To the extent that a person or entity purchased, held, sold, or otherwise disposed
     of Silver Wheaton securities on both U.S. and non-U.S. exchanges during the Class Period, the
     term “Released Claims” extends only to those transactions involving publicly traded Silver
     Wheaton securities purchased, held, sold, or otherwise disposed of on a U.S. exchange or in a U.S.
     transaction. The term “Released Claims” also does not include any claims to enforce this
     Settlement.

     If you sign the Claim Form, you are agreeing to release your claims against the Released Persons,
     which will bar you from ever filing a lawsuit that could have been brought under any of the
     Released Claims. That means you will accept a share in the Net Settlement Fund as sole

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      compensation for any losses you have suffered in the acquisition and sale of Silver Wheaton
      securities during the Class Period.

      Further information about what you are agreeing to and giving up is detailed in the Stipulation of
      Settlement, which is available at www.silverwheatonsettlement.com.

10.   How do I get out of the Settlement?
      If you do not want to receive a payment from this Settlement, and you want to keep any right you
      may have to sue or continue to sue Defendants on your own based on the legal claims raised in
      this Class Action, then you must take steps to get out of the Settlement. This is called excluding
      yourself from – or “opting out” of – the Settlement. To validly exclude yourself from the
      Settlement, you must mail a letter stating that you “request exclusion from the Settlement Class in
      In re Silver Wheaton Corp. Sec. Litig. Case No. 15-CV-5146-CAS-PJWx”. You must include
      your name, address, telephone number, email contact information (if any) and your signature,
      along with an accurate list of all of your purchases and sales of Silver Wheaton securities on a U.S.
      stock exchange or in U.S. transactions during the Class Period, including the date, number of
      shares and price of the shares purchased or sold and supporting brokerage account documentation.
      You must mail your exclusion request, received no later than June 13, 2020, to the address below
      and to Plaintiffs’ Counsel and Defendants’ Counsel at the addresses listed in question 14 below:
                                     Silver Wheaton Corp. Litigation
                                       c/o Strategic Claims Services
                                               P.O. Box 230
                                       600 N. Jackson St., Ste. 205
                                             Media, PA 19063

      You cannot exclude yourself by telephone or by e-mail. If you ask to be excluded, you will not
      receive a settlement payment, and you cannot object to the Settlement. If you ask to be excluded
      in conformity with this Notice, you will not be legally bound by anything that happens in this
      Action.

11.   If I do not exclude myself, can I sue Defendants for the same thing later?
      No. Unless you exclude yourself, you give up any right to sue Defendants for the claims that this
      Settlement resolves, or the Released Claims as defined above. If you have a pending lawsuit,
      speak to your lawyer in that case immediately, since you may have to exclude yourself from this
      Settlement Class to continue your own lawsuit.

12.   Do I have a lawyer in this case?
      The Court has appointed The Rosen Law Firm, P.A. as Plaintiffs’ counsel to represent the
      Settlement Class Members for the purposes of this Settlement (“Plaintiffs’ Counsel”). You have
      the option to retain your own separate counsel at your own cost and expense. You need not retain
      your own separate counsel to opt-out, object, submit a Proof of Claim and Release Form, or appear
      at the Settlement Hearing.

13.   How will the lawyers be paid?
      Plaintiffs’ Counsel have expended considerable time litigating this action on a contingent fee basis
      and have paid for the expenses of the litigation themselves and have not been paid any attorneys’
      fees in advance of this Settlement. Plaintiffs’ Counsel have done so with the expectation that if
      they are successful in recovering money for the Settlement Class, they will receive attorneys’ fees
      and be reimbursed for their litigation expenses from the Settlement Fund, as is customary in this

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      type of litigation. Plaintiffs’ Counsel will not receive attorneys’ fees or be reimbursed for their
      litigation expenses except from the Settlement Fund. Therefore, Plaintiffs’ Counsel will file a
      motion asking the Court at the Settlement Hearing to make an award of attorneys’ fees in an
      amount not to exceed one-third of the Settlement Fund and for reimbursement of reasonable
      litigation expenses not to exceed $1,600,000, and an award to Plaintiffs for reimbursement of
      reasonable costs and expenses (including lost wages) directly relating to their representation of the
      Settlement Class, in an amount collectively not to exceed $87,500 or $12,500 each. The Court
      may award less than these amounts. Any amounts awarded by the Court will come out of the
      Settlement Fund.

14.   How do I tell the Court that I do not like the Settlement?
      You can tell the Court you do not agree with the Settlement, any part of the Settlement, or
      Plaintiffs’ Counsel’s motion for attorneys’ fees, and that you think the Court should not approve
      the Settlement, by mailing a letter stating that you object to the Settlement in the matter of In re
      Silver Wheaton Corp. Securities Litigation, Case No. 15-CV-5146-CAS-PJWx. For your
      objection to be valid, you must include: (a) your name, address, and telephone number; (b) your
      signature; (c) a statement of your objection or objections, and the specific reasons for each
      objection, including any legal and evidentiary support you wish to bring to the Court’s attention;
      (d) brokerage account documentation listing your purchases and sales of Silver Wheaton securities
      during the Class Period, including the date, number of shares and price of the shares purchased
      and sold on a U.S. exchange or in domestic U.S. transactions in order to show your membership
      in the Settlement Class; (e) the name, address, and telephone number of all counsel who represent
      you for the objection, including former or current counsel who may be entitled to compensation in
      connection with the objection; (f) a statement confirming whether you and/or your counsel plan to
      appear at the Settlement Hearing; and (g) the number of times you have filed an objection to a
      class action settlement in the previous five years and the nature of each objection. Be sure to mail
      the objections and supporting documentation to each of the places listed below, such that they are
      received no later than July 20, 2020, so the Court will consider your views:
       Clerk of the Court                                    Plaintiffs’ Counsel:
       United States District Court
       Central District of California                        Jonathan Horne
       First Street U.S. Courthouse                          THE ROSEN LAW FIRM, P.A.
       350 W 1st Street, Suite 4311                          275 Madison Avenue, 40th Floor
       Los Angeles, CA 90012                                 New York, NY 10016
       Silver Wheaton Defendants’ Counsel:                   Deloitte’s Counsel:

       Gregory L. Watts                                      Lee G. Dunst
       WILSON SONSINI GOODRICH & ROSATI,                     GIBSON, DUNN & CRUTCHER
       P.C.                                                  LLP
       701 Fifth Avenue, Suite 5100                          200 Park Avenue
       Seattle, WA 98104                                     New York, NY 10166

      Attendance at the Final Settlement Hearing is not necessary but persons wishing to be heard orally
      regarding the Settlement, the Plan of Allocation, and/or the application for attorneys’ fees and
      expenses or award to Plaintiffs must indicate in their written objection (or in a separate writing
      that is submitted in accordance with the deadline and after any instruction pertinent to the
      submission of a written objection) that they intend to appear at the Settlement Hearing and identify
      any witnesses they may call to testify or exhibits they intend to introduce into evidence at the Final
      Settlement Hearing.

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15.   What is the difference between objecting and requesting exclusion?
      Objecting is simply telling the Court you do not like something about the Settlement. You can
      object only if you stay in the Settlement Class. Requesting exclusion is telling the Court you do
      not want to be part of the Settlement Class and Settlement. If you exclude yourself, you cannot
      object to the Settlement because it no longer concerns you. If you stay in the Settlement Class and
      object, but your objection is overruled, you will not be allowed a second opportunity to exclude
      yourself and you will be bound by any order issued by the Court.

16.   When and where will the Court decide whether to approve the Settlement?
      The Court will hold a Final Settlement Hearing on August 3, 2020 at 10:00 a.m., at the United
      States District Court, Central District of California, First Street Courthouse, 350 W. First Street,
      Courtroom 8D, 8th Floor, Los Angeles, CA 90012.

      At this hearing, the Court will consider whether the Settlement is fair, reasonable, and adequate
      and whether to approve the Settlement. If there are objections, the Court will consider them, and
      the Court will listen to people who have asked to speak at the hearing. The Court may also decide
      how much to award Plaintiffs’ Counsel for attorneys’ fees and expenses or Plaintiffs for their
      reasonable costs and expenses (including lost wages) directly relating to their representation of the
      Settlement Class.

17.   Do I have to come to the hearing?
      No. Plaintiffs’ Counsel will answer any questions the Court may have. However, you are welcome
      to attend at your own expense. If you send an objection, you do not have to come to Court to talk
      about it. As long as you mail your written objection on time along with the required information,
      the Court will consider it.

18.   What happens if I do nothing at all?
      If you do nothing, you will not receive a payment from the Settlement. However, unless you
      validly exclude yourself, you will not be able to start a lawsuit, continue with a lawsuit, or be part
      of any other lawsuit against Defendants about the claims made in this case ever again.

DATED: MARCH 9, 2020
                                             BY ORDER OF THE UNITED STATES
                                             DISTRICT COURT FOR THE CENTRAL
                                             DISTRICT OF CALIFORNIA




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                               PROOF OF CLAIM AND RELEASE FORM
Deadline for Submission: June 13, 2020

If you purchased the securities of Silver Wheaton Corp. (“Silver Wheaton”) during the period from March 30, 2011
through July 6, 2015, inclusive (the “Class Period”), you are a “Settlement Class Member” and you may be entitled
to share in the settlement proceeds. (Excluded from the Settlement Class are Defendants, all present and former
officers and directors of Silver Wheaton and any subsidiary thereof, Deloitte and all of its present and former
partners, members of all such excluded persons’ families and their legal representatives, heirs, successors or assigns
and any entity which such excluded persons controlled or in which they have or had a controlling interest.)

If you are a Settlement Class Member, you must complete and submit this form in order to be eligible for any
settlement benefits.

Most claimants submit their Proof of Claim and Release Form electronically. To file your claim electronically, you
must complete and submit the form online at www.silverwheatonsettlement.com no later than June 13, 2020.
However, you may also sign this Proof of Claim and Release Form and mail it by first class mail, postmarked no
later than June 13, 2020, to Strategic Claims Services, the Claims Administrator, at the following address:
                                           Silver Wheaton Corp. Litigation
                                            c/o Strategic Claims Services
                                             600 N. Jackson St., Ste. 205
                                                     P.O. Box 230
                                                   Media, PA 19063
                                                  Tel.: 866-410-3013
                                                  Fax: 610-565-7985
                                               info@strategicclaims.net
IF YOU SUBMIT YOUR PROOF OF CLAIM AND RELEASE FORM BY MAIL, YOUR RECOGNIZED
CLAIM WILL BE REDUCED BY $5 OR 1%, WHICHEVER IS GREATER, TO ACCOUNT FOR INCREASED
ADMINISTRATION COSTS OF PROCESSING PAPER CLAIMS.

Your failure to submit your claim by June 13, 2020 will subject your claim to rejection and preclude you from
receiving any money in connection with the settlement of this action. Do not mail or deliver your claim to the Court
or to any of the parties or their counsel, as any such claim will be deemed not to have been submitted. Submit your
claim only to the Claims Administrator. If you are a Settlement Class Member and do not submit a proper Proof of
Claim and Release Form, you will not share in the Settlement, but you nevertheless will be bound by the Order and
Final Judgment of the Court unless you exclude yourself.

Submission of a Proof of Claim and Release Form does not assure that you will share in the proceeds of the
Settlement.
                                              CLAIMANT’S STATEMENT
1.    I (we) purchased the securities of Silver Wheaton Corp. (“Silver Wheaton”) during the Class Period. (Do not submit this
      Proof of Claim and Release Form if you did not purchase Silver Wheaton securities during the Class Period.)
2.    By submitting this Proof of Claim and Release Form, I (we) state that I (we) believe in good faith that I am (we are) a
      Settlement Class Member(s) as defined above and in the Internet Notice of Pendency and Proposed Settlement of Class
      Action (the “Notice”), or am (are) acting for such person(s); that I am (we are) not a Defendant in the Action or anyone
      excluded from the Settlement Class; that I (we) have read and understand the Notice; that I (we) believe that I am (we are)
      entitled to receive a share of the Net Settlement Fund, as defined in the Notice; that I (we) elect to participate in the
      proposed Settlement described in the Notice; and that I (we) have not filed a request for exclusion. (If you are acting in a
      representative capacity on behalf of a Settlement Class Member [e.g., as an executor, administrator, trustee, or other
      representative], you must submit evidence of your current authority to act on behalf of that Settlement Class Member.
      Such evidence would include, for example, letters testamentary, letters of administration, or a copy of the trust documents.)



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3.    I (we) consent to the jurisdiction of the Court with respect to all questions concerning the validity of this Proof of Claim
      and Release Form. I (we) understand and agree that my (our) claim may be subject to investigation and discovery under
      the Federal Rules of Civil Procedure, provided that such investigation and discovery shall be limited to my (our) status as
      a Settlement Class Member(s) and the validity and amount of my (our) claim. No discovery shall be allowed on the merits
      of the Action or Settlement in connection with processing of the Proof of Claim and Release Form.
4.    I (we) have set forth where requested below all relevant information with respect to each purchase or acquisition of Silver
      Wheaton securities during the period from March 30, 2011 through and including July 6, 2015, and each sale, if any, of
      such securities. I (we) agree to furnish additional information to the Claims Administrator to support this claim if requested
      to do so.
5.    I (we) have enclosed photocopies of the stockbroker’s confirmation slips, stockbroker’s statements, or other documents
      evidencing each purchase, acquisition, and sale of Silver Wheaton securities listed below in support of my (our) claim. (IF
      ANY SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN A COPY OR EQUIVALENT
      DOCUMENTS FROM YOUR BROKER OR TAX ADVISOR BECAUSE THESE DOCUMENTS ARE NECESSARY
      TO PROVE AND PROCESS YOUR CLAIM.)
6.    I (we) understand that the information contained in this Proof of Claim and Release Form is subject to such verification as
      the Claims Administrator may request or as the Court may direct, and I (we) agree to cooperate in any such verification.
      (The information requested herein is designed to provide the minimum amount of information necessary to process most
      simple claims. The Claims Administrator may request additional information as required to efficiently and reliably
      calculate your recognized claim. In some cases, the Claims Administrator may condition acceptance of the claim based
      upon the production of additional information, including, where applicable, information concerning transactions in any
      derivatives securities such as options.)
7.    Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree and acknowledge
      that my (our) signature(s) hereto shall effect and constitute a full and complete release, remise and discharge by me (us)
      and my (our) respective parent entities, associates, affiliates, subsidiaries, predecessors, successors, assigns, attorneys,
      heirs, representatives, joint tenants, tenants in common, beneficiaries, executors, administrators, insurers, legatees, and
      estates (or, if I am (we are) submitting this Proof of Claim and Release Form on behalf of a corporation, a partnership,
      estate or one or more other persons, by it, him, her or them, and by its, his, her or their respective parent entities, associates,
      affiliates, subsidiaries, predecessors, successors, assigns, attorneys, heirs, representatives, joint tenants, tenants in common,
      beneficiaries, executors, administrators, insurers, legatees, and estates) of each of the “Released Persons” of all “Released
      Claims.”
8.    Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree and acknowledge
      that my (our) signature(s) hereto shall effect and constitute a covenant by me (us) and my (our) heirs, joint tenants, tenants
      in common, beneficiaries, executors, administrators, predecessors, successors, attorneys, insurers and assigns (or, if I am
      (we are) submitting this Proof of Claim and Release Form on behalf of a corporation, a partnership, estate or one or more
      other persons, by it, him, her or them, and by its, his, her or their heirs, executors, administrators, predecessors, successors,
      and assigns) to permanently refrain from prosecuting or attempting to prosecute any Released Claims against any of the
      Released Parties.
9.    “Claims” means any and all manner of claims, demands, rights, actions, potential actions, causes of action, liabilities,
      duties, damages, losses, diminutions in value, obligations, agreements, suits, fees, attorneys’ fees, expert or consulting
      fees, debts, expenses, costs, sanctions, judgments, decrees, matters, issues and/or controversies of any kind or nature
      whatsoever, whether known or unknown, contingent or absolute, liquidated or not liquidated, accrued or unaccrued,
      suspected or unsuspected, disclosed or undisclosed, apparent or not apparent, foreseen or unforeseen, matured or not
      matured, which now exist, or heretofore or previously existed, or may hereafter exist, including, but not limited to, any
      claims arising under federal, state, common law, statute, rule, or regulation, whether individual, class, direct, derivative,
      representative, on behalf of others, legal, equitable, or of any other type or in any other capacity.
10. “Released Persons” means the Defendants, their present and former parents, subsidiaries, divisions, departments, affiliates,
    stockholders, partners, officers, directors, employees, agents, insurers, co-insurers, reinsurers, accountants, auditors,
    financial advisors, investment bankers, underwriters, attorneys (including Defendants’ Counsel), transfer pricing
    consultants, assigns, spouses, heirs, or any entity in which any Defendant has a controlling interest, any member of any
    Individual Defendant’s immediate family, or any trust of which any Individual Defendant is the settler or which is for the
    benefit of any individual defendant and/or member(s) of his family (and the predecessors, successors, administrators and
    assigns of each of the foregoing).
11. “Released Claims” means any and all Claims (including Unknown Claims), rights, demands, obligations, damages, actions
    or causes of action, or liabilities whatsoever, of every nature and description, whether known or unknown, whether arising
    under federal, state, common or foreign law or regulation, that have been, could have been, or in the future can or might

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    be asserted by any member of the Settlement Class, or their successors, assigns, executors, administrators, representatives,
    attorneys, and agents, in their capacities as such, against the Released Persons arising out of, relating to, or in connection
    with both (a) the purchase, acquisition, holding, sale or other disposition of publicly traded Silver Wheaton securities on a
    United States exchange or in a U.S. transaction during the Class Period and (b) the acts, facts, events, transactions,
    occurrences, statements, representations or omissions that were or could have been alleged or asserted by Plaintiffs or any
    member of the Settlement Class in the Action or in any other action in any court or forum. For avoidance of doubt, the
    term “Released Claims” does not include any claims arising out of, relating to, or in connection with the purchase,
    acquisition, holding, sale or other disposition of Silver Wheaton securities on a non-U.S. exchange or in a non-U.S.
    transaction. To the extent that a person or entity purchased, held, sold, or otherwise disposed of Silver Wheaton securities
    on both U.S. and non-U.S. exchanges during the Class Period, the term “Released Claims” extends only to those
    transactions involving publicly traded Silver Wheaton securities purchased, held, sold, or otherwise disposed of on a U.S.
    exchange or in a U.S. transaction. The term “Released Claims” also does not include any claims to enforce this Settlement.
12. “Unknown Claims” shall mean any and all claims, demands, rights, liabilities, and causes of action of every nature and
    description which any Settlement Class Member does not know or suspect to exist in his, her or its favor at the time of the
    release of the Released Persons which, if known by him, her or it, might have affected his, her or its settlement with and
    release of the Released Persons, or might have affected his, her or its decision not to opt-out or object to this Settlement.
    With respect to any and all Released Claims, the Settling Parties stipulate and agree that, upon the Effective Date, the
    Plaintiffs shall expressly waive, and each of the Settlement Class Members shall be deemed to have waived, and by
    operation of the Final Judgment shall have waived, the provisions, rights and benefits of California Civil Code § 1542,
    which provides:
         A general release does not extend to claims that the creditor or releasing party does not know or suspect to exist in
         his or her favor at the time of executing the release and that, if known by him or her, would have materially
         affected his or her settlement with the debtor or released party.
    Plaintiffs shall expressly waive and each of the Settlement Class Members shall be deemed to have, and by operation of
    the Final Judgment shall have, expressly waived any and all provisions, rights and benefits conferred by any law of any
    state, territory, foreign country or principle of common law, which is similar, comparable or equivalent to California Civil
    Code § 1542. Plaintiffs and/or one or more Settlement Class Members may hereafter discover facts in addition to or
    different from those which he, she or it now knows or believes to be true with respect to the subject matter of the Released
    Claims, but the Plaintiffs shall expressly fully, finally and forever settle and release, and each Settlement Class Member,
    upon the Effective Date, shall be deemed to have, and by operation of the Final Judgment shall have, fully, finally and
    forever settled and released, any and all Released Claims, known or unknown, suspected or unsuspected, contingent or
    non-contingent, which now exist, or heretofore have existed, including, but not limited to, conduct which is negligent,
    intentional, with or without malice, or a breach of fiduciary duty, law or rule, without regard to the subsequent discovery
    or existence of such different or additional facts. The Plaintiffs acknowledge, and the Settlement Class Members shall be
    deemed by operation of the Final Judgment to have acknowledged, that the foregoing waiver was separately bargained for
    and a key element of the Settlement of which this release is a part.
13. I (we) acknowledge that I (we) may hereafter discover facts in addition to or different from those which I (we) now know
    or believe to be true with respect to the subject matter of the Released Claims, but expressly fully, finally and forever settle
    and release, any and all Released Claims, known or unknown, suspected or unsuspected, contingent or non-contingent,
    whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of law or equity now
    existing or coming into existence in the future, including, but not limited to, conduct which is negligent, intentional, with
    or without malice, or a breach of fiduciary duty, law or rule, without regard to the subsequent discovery or existence of
    such different or additional facts.
14. I (We) acknowledge that the inclusion of “Unknown Claims” in the definition of claims released pursuant to the Stipulation
     of Settlement (“Stipulation”) was separately bargained for and is a material element of the Settlement of which this release
     is a part.
15. NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of transactions may request, or may
     be requested, to submit information regarding their transactions in electronic files. To obtain the mandatory electronic
     filing requirements and file layout, you may email the Claims Administrator’s electronic filing department at
     efile@strategicclaims.net. Any file not submitted in accordance with the required electronic filing format will be subject
     to rejection. No electronic files will be considered to have been properly submitted unless the Claims Administrator issues
     an email after processing your file with your claim number(s) and respective account information. Do not assume that
     your file has been received or processed until you receive this email. If you do not receive such an email within 10 days
     of your submission, you should contact the electronic filing department at efile@strategicclaims.net to inquire about your
     file and confirm it was received and acceptable.


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                                       #:25945
                                                                   SILVER WHEATON
   I. CLAIMANT INFORMATION
Beneficial Owner:




Address:




City:                                               State:                ZIP:

Foreign Province:                                   Foreign Country:

Day Phone:                                          Evening Phone:

Email:

 Social Security Number (for individuals):     OR     Taxpayer Identification Number (for estates, trusts,
                                                      corporations, etc.):



   II. SCHEDULE OF TRANSACTIONS IN SILVER WHEATON SECURITIES

   Beginning Holdings:
   A. State the total number of shares of Silver Wheaton common stock held
      at the close of trading on March 29, 2011 (must be documented). If
      none, write “zero” or “0.”

   Purchases/Acquisitions:
   B. Separately list each and every purchase of Silver Wheaton common stock between March 30, 2011
      and July 6, 2015, both dates inclusive, and provide the following information (must be documented):

           Trade Date
              (List                                                                  Total Cost
         Chronologically)       Number of Shares              Price per       (Excluding Commissions,
        (Month/Day/Year)       Purchased/Acquired              Share              Taxes, and Fees)




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                                   #:25946
                                                               SILVER WHEATON

Sales:
C. Separately list each and every sale of Silver Wheaton common stock between March 30, 2011 and July
6, 2015, both dates inclusive, and provide the following information (must be documented):

    Trade Date                                                                     Amount Received
       (List                                                                         (Excluding
  Chronologically)                                                                  Commissions,
 (Month/Day/Year)          Number of Shares Sold          Price per Share          Taxes, and Fees)




 Ending Holdings:
 D. State the total number of shares of Silver Wheaton common stock held
    at the close of trading on July 6, 2015 (must be documented).


If additional space is needed, attach separate, numbered sheets, giving all required information,
substantially in the same format, and print your name and Social Security or Taxpayer
Identification number at the top of each sheet.

III. SUBSTITUTE FORM W-9
Request for Taxpayer Identification Number:

Enter taxpayer identification number below for the Beneficial Owner(s). For most individuals, this is your
Social Security Number. The Internal Revenue Service (“I.R.S.”) requires such taxpayer identification
number. If you fail to provide this information, your claim may be rejected.

       Social Security Number (for            or        Taxpayer Identification Number
       individuals)                                     (for estates, trusts, corporations, etc.)


       _____________________________                    _______________________________


IV. CERTIFICATION
I (We) submit this Proof of Claim and Release Form under the terms of the Stipulation described in the
Notice. I (We) also submit to the jurisdiction of the United States District Court for the Central District
of California, with respect to my (our) claim as a Settlement Class Member and for purposes of enforcing
the release and covenant not to sue set forth herein. I (We) further acknowledge that I am (we are) bound
by and subject to the terms of any judgment that may be entered in this Action. I (We) have not submitted
any other claim covering the same purchases or sales of Silver Wheaton securities during the Class Period
and know of no other Person having done so on my (our) behalf.



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                                   #:25947
                                                               SILVER WHEATON

I (We) certify that I am (we are) NOT subject to backup withholding under the provisions of Section
3406(a)(1)(c) of the Internal Revenue Code because: (a) I am (We are) exempt from backup withholding;
or (b) I (We) have not been notified by the I.R.S. that I am (we are) subject to backup withholding as a
result of a failure to report all interest or dividends; or (c) the I.R.S. has notified me (us) that I am (we are)
no longer subject to backup withholding.

NOTE: If you have been notified by the I.R.S. that you are subject to backup withholding, please strike
out the language that you are not subject to backup withholding in the certification above.

UNDER THE PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES, I (WE)
CERTIFY THAT ALL OF THE INFORMATION I (WE) PROVIDED ON THIS PROOF OF CLAIM
AND RELEASE FORM IS TRUE, CORRECT AND COMPLETE.

                                        Signature of Claimant (If this claim is being made
                                        on behalf of Joint Claimants, then each must sign):

                                        ________________________________________
                                        (Signature)

                                        ________________________________________
                                        (Signature)

                                        ________________________________________
                                        (Capacity of person(s) signing, e.g. beneficial
                                        purchaser(s), executor, administrator, trustee, etc.)
                                         Check here if proof of authority to file is enclosed.
                                        (See Item 2 under Claimant’s Statement)


Date: ____________________

To file your Proof of Claim and Release Form electronically, please visit the Silver Wheaton case
website, www.silverwheatonsettlement.com. The case website has a page called “File a Claim
Online” that will direct you to the electronic filing system. Once you click the File a Claim Online
page, you will be given detailed instructions for filling out and submitting your Proof of Claim and
Release Form online. Please read the instructions carefully and make sure that you have the
information and documents necessary to complete your online claim. You will need to provide the
contact information and list of transactions stated in the instructions, as well as attach the
documentation listed in paragraph 5 on page 2 of this Proof of Claim and Release Form, in order to
submit your claim electronically. If you do not provide all of the information and documents
required, you will not be able to proceed with your submission through the electronic filing system.

If you experience any issues while filling out your Proof of Claim and Release Form electronically,
or if you have any questions about filing, you may contact the Claims Administrator via email at
info@strategicclaims.net or by toll-free phone at (866) 410-3013.




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                                   #:25948
                                                               SILVER WHEATON
IF YOU CHOOSE TO FILE YOUR CLAIM BY MAIL, THIS PROOF OF CLAIM AND
RELEASE FORM MUST BE POSTMARKED NO LATER THAN JUNE 13, 2020 AND MUST BE
MAILED TO:

                                     Silver Wheaton Corp. Litigation
                                      c/o Strategic Claims Services
                                       600 N. Jackson St., Ste. 205
                                               P.O. Box 230
                                             Media, PA 19063
                                            Tel.: 866-410-3013
                                            Fax: 610-565-7985
                                         info@strategicclaims.net

IF YOU SUBMIT YOUR PROOF OF CLAIM AND RELEASE FORM BY MAIL, YOUR
RECOGNIZED CLAIM WILL BE REDUCED BY $5 OR 1%, WHICHEVER IS GREATER, TO
ACCOUNT FOR INCREASED ADMINISTRATION COSTS INCURRED IN PROCESSING
HARD-COPY CLAIMS.

A Proof of Claim and Release Form received by the Claims Administrator shall be deemed to have been
submitted when posted, if mailed by June 13, 2020 and if a postmark is indicated on the envelope and it
is mailed first class and addressed in accordance with the above instructions. In all other cases, a Proof
of Claim and Release Form shall be deemed to have been submitted when actually received by the Claims
Administrator.

You should be aware that it will take a significant amount of time to process fully all of the Proof of Claim
and Release Forms and to administer the Settlement. This work will be completed as promptly as time
permits, given the need to investigate and tabulate each Proof of Claim and Release Form. Please notify
the Claims Administrator of any change of address.

                                    REMINDER CHECKLIST
   o Please be sure to sign this Proof of Claim and Release Form on page 7. If this Proof of Claim and
     Release Form is submitted on behalf of joint claimants, then both claimants must sign.
   o Please remember to attach supporting documents. Do NOT send any stock certificates. Keep
     copies of everything you submit.
   o Do NOT use highlighter on the Proof of Claim and Release Form or any supporting documents.
   o If you move or change your address, telephone number or email address, please submit the new
     information to the Claims Administrator, as well as any other information that will assist us in
     contacting you. NOTE: Failure to submit updated information to the Claims Administrator may
     result in the Claims Administrator’s inability to contact you regarding issues with your claim or
     delivery of payment to you.




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Silver Wheaton Corp.Litigation
c/o Strategic Claims Services
600 N. Jackson Street, Suite 205
Media, PA 19063

IMPORTANT LEGAL NOTICE – PLEASE FORWARD




                                       8
                                                         EXHIBIT E
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                                  #:25950
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                                  #:25951
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                                  #:25952
Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 35 of 86 Page ID
                                  #:25953
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                                  #:25962
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                                  #:25963
Josephine Bravata

From:                            Claims Analyst <info@strategicclaims.net>
Sent:                            Thursday, May 07, 2020 10:40 AM
To:                              Josephine Bravata
Subject:                         Fwd: Silver Wheaton Lawsuit: request to be excluded


See below, Silver Wheaton exclusion email --

---------- Forwarded message ---------
From: Yahoo
Date: Wed, May 6, 2020 at 12:21 PM
Subject: Silver Wheaton Lawsuit: request to be excluded
To: info@strategicclaims.net <info@strategicclaims.net>


Name: Michael A. Rossi,

Request to be excluded from the class action lawsuit.
                                                                                                                                                                                           #:25964




--
Claims Administrator
Strategic Claims Services
600 N. Jackson St., Suite 205
Media PA 19063
Phone: 610-565-9202
Fax: 610-565-7985
Toll Free: 1-866-274-4004

IMPORTANT: The information contained in this message is confidential and is intended only for the named addressee(s). If the reader of this
message is not an intended recipient (or the individual responsible for the delivery of this message to an intended recipient), please be advised that
any re-use, dissemination, distribution or copying of this message is prohibited. If you have received this message in error, please reply to the
sender that you have received the message in error and then delete it. Thank you.
                                                                                                                                                         Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 46 of 86 Page ID




                                                                              1
Josephine Bravata

From:                            Claims Analyst <info@strategicclaims.net>
Sent:                            Thursday, May 07, 2020 4:20 PM
To:                              Josephine Bravata
Subject:                         Fwd: Silver Wheaton Lawsuit: request to be excluded [#445272]


See below, Rossi Silver Wheaton exclusion response --

---------- Forwarded message ---------
From: 'Yahoo' via Reply <reply@strategicclaims.net>
Date: Thu, May 7, 2020 at 12:53 PM
Subject: Re: Silver Wheaton Lawsuit: request to be excluded [#445272]
To: Claims Administrator <reply@strategicclaims.net>


Name: Michael A. Rossi

Address:
                                                                                                                                                        #:25965




Mailing Address:

Documentation: All documentation from 2010 to 2016 was destroyed in a fire, including federal tax returns which had
this information.

Respectfully,

Michael A. Rossi

On Thursday, May 7, 2020, 9:05:27 AM PDT, Claims Administrator <reply@strategicclaims.net> wrote:



Recipients:
                                                                                                                      Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 47 of 86 Page ID




                                                                              1
Good afternoon,

We received your request for exclusion from the Silver Wheaton Corp. Securities Litigation, Case No. 15-CV-5146-CAS-PJWx. At this time, we are missing the
following information, which is needed in order for your request to be valid:


    •   Your address and telephone number;
    •   An accurate list of all your purchases and sales of Silver Wheaton securities on a U.S. stock exchange or in a U.S. transaction between March 30, 2011
        and July 6, 2015, inclusive, including the date, number of shares and price of shares purchased or sold;
    •   Supporting documentation for the transactions such as broker confirmation slips, broker account statements, an authorized statement from the broker
        containing the transactional and holding information found in a broker confirmation slip or account statement.


For your request to be honored, we must receive the information above no later than June 13, 2020. If you have any questions, please contact us at your earliest
convenience.

Thank you.


--
Claims Administrator
Strategic Claims Services
600 N. Jackson St. - Suite 205
Media PA 19063
                                                                                                                                                                                                        #:25966




Phone: 610-565-9202
Fax: 610-565-7985
Toll Free: 1-866-274-4004

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distribution or copying of this message is prohibited. If you have received this message in error, please reply to the sender that you have received the message in
error and then delete it. Thank you.




--
Claims Administrator
Strategic Claims Services
600 N. Jackson St. - Suite 205
Media PA 19063
                                                                                                                                                                      Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 48 of 86 Page ID




Phone: 610-565-9202
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--
Claims Administrator
Strategic Claims Services
600 N. Jackson St., Suite 205
Media PA 19063
Phone: 610-565-9202
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                                  #:25969
Case 2:15-cv-05146-CAS-PJW Document 492-1 Filed 07/06/20 Page 52 of 86 Page ID
                                   #:25970
 Silver Wheaton Corp. Litigation                            Phone: (866) 410-3013
 c/o Strategic Claims Services                                Fax: (610) 565-7985
 600 N. Jackson Street – Suite 205                 Email: info@strategicclaims.net
 Media, PA 19063


 May 18, 2020

 Joyce Hazard




 Re: Silver Wheaton Corp. Securities Litigation – Master File No: 2:15-cv-05146-CAS-PJWx
 c/w: 2:15-cv-05173-CAS (PJWx)

 Joyce Hazard,

 On May 15, 2020, we received your request for exclusion from the Silver Wheaton Corp. Securities
 Litigation - Master File No: 2:15-cv-05146-CAS-PJWx c/w: 2:15-cv-05173-CAS (PJWx). At this
 time, we are missing the following information, which is needed in order for your request to be
 valid:

    •   Your phone number;
    •   An accurate list of all your purchases and sales of Silver Wheaton securities on a U.S. stock
        exchange or in a U.S. transaction between March 30, 2011 and July 6, 2015, inclusive,
        including the date, number of shares and price of shares purchased or sold; and
    •   Supporting documentation for the transactions such as broker confirmation slips, broker
        account statements, an authorized statement from the broker containing the transactional
        and holding information found in a broker confirmation slip or account statement.

 For your request to be honored, we must receive the information above no later than June 13,
 2020. If you have any questions, please contact us at your earliest convenience.

 Regards,

 Josephine Bravata
 Quality Assurance Manager
 Strategic Claims Services
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                                   #:25978
 Silver Wheaton Corp. Litigation                            Phone: (866) 410-3013
 c/o Strategic Claims Services                                Fax: (610) 565-7985
 600 N. Jackson Street – Suite 205                 Email: info@strategicclaims.net
 Media, PA 19063


 June 2, 2020

 Jon Neill




 Re: Silver Wheaton Corp. Securities Litigation – Master File No: 2:15-cv-05146-CAS-PJWx
 c/w: 2:15-cv-05173-CAS (PJWx)

 Dear Mr. Neill,

 We received your request for exclusion from the Silver Wheaton Corp. Securities Litigation -
 Master File No: 2:15-cv-05146-CAS-PJWx c/w: 2:15-cv-05173-CAS (PJWx). We understand
 you wish to be excluded from the Settlement Class. Currently, you are not excluded from the
 Settlement Class. That is because the court order preliminarily approving the Settlement, available
 at https://silverwheatonsettlement.com/, provides that in order to be excluded from the Class, you
 must provide the following information:

    •   Your phone number and email address;
    •   An accurate list of all your purchases and sales of Silver Wheaton securities on a U.S. stock
        exchange or in a U.S. transaction between March 30, 2011 and July 6, 2015, inclusive,
        including the date, number of shares and price of shares purchased or sold; and
    •   Supporting documentation for the transactions such as broker confirmation slips, broker
        account statements, an authorized statement from the broker containing the transactional
        and holding information found in a broker confirmation slip or account statement.

 To validly exclude yourself from the Settlement Class, we must receive the information above no
 later than June 13, 2020.

 Regards,

 Josephine Bravata
 Quality Assurance Manager
 Strategic Claims Services
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